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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                             )
In re:                                                       ) Chapter 11
                                                             )
TEHUM CARE SERVICES, INC.,1                                  ) Case No. 23-90086 (CML)
                                                             )
                                     Debtor.                 )
                                                             )

                         DEBTOR AND OFFICIAL COMMITTEE
                  OF UNSECURED CREDITORS’ JOINT CHAPTER 11 PLAN

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    Counsel to the Debtor and Debtor in Possession




1 The last four digits of the Debtor’s federal tax identification number is 8853. The Debtor’s service address is: 205
Powell Place, Suite 104, Brentwood, Tennessee 37027.



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                                                  INTRODUCTION

        Tehum Care Services, Inc. and the Official Committee of Unsecured Creditors of Tehum Care Services, Inc.
hereby propose the following joint chapter 11 plan pursuant to section 1121(a) of the Bankruptcy Code.

                                         ARTICLE I.
                         DEFINED TERMS, RULES OF INTERPRETATION,
                 COMPUTATION OF TIME, GOVERNING LAW, AND OTHER REFERENCES

A.       Defined Terms

         1.       “Administrative Claim” means any right to payment constituting a cost or expense of administration
of the Chapter 11 Case pursuant to sections 503(b) or 507 of the Bankruptcy Code.

         2.       “Administrative Claims Bar Date” means the first Business Day that is 30 days following the
Effective Date, unless otherwise specifically set forth in the Plan or a Final Order.

         3.       “Administrative and Priority Claims Reserve” means a reserve established by the Liquidation
Trustee on the Effective Date to be used to pay Holders of all Allowed Priority Claims and Allowed Administrative
Claims, to the extent the same have not been paid in full on or before the Effective Date.

        4.       “Administrative Claims Objection Deadline” means the first Business Day that is 21 days following
the Administrative Claims Bar Date, unless otherwise specifically set forth in the Plan or a Final Order.

         5.         “Allowed” means, any Claim: (a) that is evidenced by a Proof of Claim Filed by the Claims Bar
Date and as to which no objection has been interposed on or before the Claims Objection Deadline or such other
applicable period of limitation fixed by this Plan, the Bankruptcy Code, the Bankruptcy Rules or the Bankruptcy
Court; (b) that is listed in the Schedules and is not identified as contingent, unliquidated, or disputed, and for which
no Proof of Claim has been timely Filed and as to which no objection has been interposed on or before the Claims
Objection Deadline; or (c) Allowed pursuant to the Plan or a Final Order of the Bankruptcy Court.

           6.       “Assumed Executory Contract and Unexpired Lease List” means the list of Executory Contracts and
Unexpired Leases (with proposed cure amounts and assignee, as applicable) that will be assumed by the Debtor, which
list shall be included in the Plan Supplement.

          7.      “Avoidance Actions” means any and all actual or potential avoidance, recovery, subordination or
other claims, causes of action or remedies that may be brought by or on behalf of the Debtor or its Estate or other
authorized parties in interest under the Bankruptcy Code or applicable non-bankruptcy law, including claims, causes
of action, or remedies under sections 502, 510, 542, 544, 545, 547 through 553, and 724(a) of the Bankruptcy Code,
or under similar or related local, state, federal, or foreign statutes or common law, including preference and fraudulent
transfer and conveyance laws, in each case whether or not litigation to prosecute such claim(s), cause(s) of action or
remedy(ies) were commenced prior to the Effective Date.

        8.       “Ballot” means the form of ballot approved by the Bankruptcy Court and provided to Holders of
Claims to indicate their votes to accept or reject the Plan and to make an election with respect to the Third-Party
Release provided by Article IX.D hereof.

         9.       “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–1532, as now in
effect and as may be hereafter amended.

        10.     “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District of Texas,
Houston Division, or such other court of the United States having jurisdiction over the Chapter 11 Case.

         11.    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as promulgated by the United
States Supreme Court under 28 U.S.C. § 2075, as now in effect or hereafter amended.


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          12.      “Bar Date” means, as applicable, (i) the Claims Bar Date, (ii) any other date or dates established or
to be established by this Plan or by a Final Order of the Bankruptcy Court setting a deadline by which Proofs of Claim
must be Filed and (iii) the Administrative Claims Bar Date.

        13.     “Business Day” means any day, other than a Saturday, Sunday, or a “legal holiday,” as defined in
Bankruptcy Rule 9006(a).

         14.      “Cash” or “$” means legal tender of the United States of America.

         15.       “Causes of Action” means any claims, causes of action, interests, damages, remedies, demands,
rights, actions (including Avoidance Actions), suits, debts, sums of money, obligations, judgments, liabilities,
accounts, defenses, offsets, counterclaims, crossclaims, powers, privileges, licenses, liens, indemnities, guaranties,
and franchises of any kind or character whatsoever, whether known or unknown, foreseen or unforeseen, now existing
or hereafter arising, contingent or non-contingent, liquidated or unliquidated, choate or inchoate, secured or unsecured,
assertable, directly or derivatively, matured or unmatured, suspected or unsuspected, in contract, tort, law, equity, or
otherwise, owned by or otherwise accruing to the Debtor and its Estate, whether arising before, on, or after the Petition
Date.

         16.      “Challenge Period” has the meaning ascribed to such term in the DIP Order.

         17.      “Chapter 11 Case” means the above-captioned chapter 11 bankruptcy case of the Debtor.

         18.      “Claim” means any claim against the Debtor, as defined in section 101(5) of the Bankruptcy Code.

         19.      “Claims Agent” means Kurtzman Carson Consultants LLC.

        20.        “Claims Bar Date” means the last date to file Proofs of Claim against the Debtor, which was August
14, 2023, for all creditors including Governmental Units.

         21.     “Claims Objection Deadline” means one hundred eighty days (180) days after the Effective Date
unless extended by further order of the Bankruptcy Court.

        22.      “Claims Register” means the official register of Claims against and Interests in the Debtor
maintained by the Claims Agent.

         23.      “Class” means any category of Holders of Claims or Interests classified by this Plan pursuant to
sections 1122(a) and 1123(a)(1) of the Bankruptcy Code.

         24.     “Committee” means the Official Committee of Unsecured Creditors appointed in the Chapter 11
Case by the Office of the United States Trustee, as the same may be reconstituted from time to time.

         25.      “Confirmation Date” means the date on which the Bankruptcy Court enters the Confirmation Order
on the docket of the Chapter 11 Case.

        26.      “Confirmation Hearing” means the hearing conducted by the Bankruptcy Court, including any
adjournments thereof, to consider confirmation of the Plan.

          27.       “Confirmation Objection Deadline” means the date that is at least fourteen (14) Business Days prior
to the date first set by the Bankruptcy Court for the Confirmation Hearing.

         28.      “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan pursuant to
section 1129 of the Bankruptcy Code and approving the Disclosure Statement as containing adequate information
pursuant to sections 1125 and 1126 of the Bankruptcy Code.




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         29.      “Consenting Creditors” means collectively the following, in each case in its capacity as such with
each being a “Consenting Creditor”: (a) all Holders of Claims or Interests that vote to accept or are deemed to accept
the Plan and who do not check the box on the applicable form to affirmatively opt out of the releases contained in
Article IX.D; (b) all Holders of Claims or Interests that abstain from voting on the Plan, vote to reject the Plan, or are
deemed to reject the Plan and who do not (i) check the box on the applicable form to affirmatively opt out of the
releases contained in Article IX.D or (ii) object to the Plan in respect of the releases; and (c) all Holders of Claims
who elect to receive an Expedited Distribution.

         30.      “Consummation” means the occurrence of the Effective Date.

         31.      “Contingent Indemnification Claim” means any Claim for indemnification against the Debtor of any
kind or nature whatsoever, whether arising under or pursuant to any type of bylaws, organizational or formation
documents, board resolutions, management or indemnification agreements, employment or other services contracts,
at common law, in equity or otherwise, and whether pertaining or related to past and present directors, officers,
employees, attorneys, accountants, investment bankers, clients, state agencies, or other professionals and agents of the
Debtor related to services provided to, by or for the Debtor at any time prior to the Effective Date that is contingent
as of the Effective Date; provided that Contingent Indemnification Claims shall not include any Claim for
indemnification against the Debtor if, prior to the Effective Date, such Claim has been adjudicated as non-contingent
by Final Order of a court of competent jurisdiction.

         32.      “Convenience Claim” means any General Unsecured Claim that is filed in an amount of $5,000 or
less.

         33.     “Cure Claim” means a Claim (unless waived or modified by the applicable counterparty) based
upon a Debtor’s defaults under an Executory Contract or an Unexpired Lease assumed by such Debtor under section
365 of the Bankruptcy Code, other than a default that is not required to be cured pursuant to section 365(b)(2) of the
Bankruptcy Code.

         34.        “Debtor Release” means the release given on behalf of the Debtor and its Estate to the Released
Parties as set forth in Article IX.C.

         35.      “Debtor” means Tehum Care Services, Inc. f/k/a Corizon Health, Inc., a Texas corporation, in its
capacity as a debtor and debtor in possession under sections 1107 and 1108 of the Bankruptcy Code.

        36.    “DIP Claims” means all Claims of the DIP Lender arising under and pursuant to the DIP Facility,
the DIP Documents, and the DIP Order.

        37.      “DIP Credit Agreement” means that certain Senior Secured Superpriority Debtor-in-Possession
Credit Agreement attached to the DIP Order as Exhibit 1, as the same may be amended, restated, supplemented, or
otherwise modified from time to time.

        38.       “DIP Documents” means, collectively, the DIP Credit Agreement, the DIP Order, and all other
agreements, documents, and instruments related thereto, as may be amended, modified, restated, or supplemented
from time to time.

         39.    “DIP Facility” means the senior secured debtor in possession term loan facility, as provided for
under the DIP Documents and authorized pursuant to the DIP Order.

         40.     “DIP Lender” means M2 LoanCo, LLC, in its capacity as the DIP Lender (as defined in the DIP
Order) as supplemented in subsequent orders.

         41.     “DIP Order” means, collectively, (a) the Interim Order (I) Authorizing the Debtor to (A) Obtain
Postpetition Financing and (B) Use Cash Collateral (II) Granting Liens and Providing Claims with Superpriority
Administrative Expense Status, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing and (V) Granting
Related Relief [Docket No. 243], (b) all additional interim orders entered by the Bankruptcy Court authorizing the


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Debtor to incur postpetition obligations thereunder, and otherwise amending, supplementing, or modifying such
authority from time to time and (c) any interim or final order or orders entered by the Bankruptcy Court granting the
Debtor’s Motion for Entry of Fourth Interim DIP Order (I) Authorizing Debtor to (A) Obtain Postpetition Financing
and (B) Use Cash Collateral, (II) Granting Liens and Providing Claims with Superpriority Administrative Expense
Status, (III) Modifying the Automatic Stay and (IV) Granting Related Relief [Docket No. 928].

         42.       “Disallowed” means any Claim or Interest or portion thereof that is not Allowed or Disputed.

        43.      “Disclosure Statement” means that certain disclosure statement relating to the Plan, as the same may
be amended, supplemented, or modified from time to time, including all exhibits and schedules thereto, as approved
by the Bankruptcy Court pursuant to sections 1125 and 1126 of the Bankruptcy Code.

         44.       “Disputed” means any Claim or Interest or portion thereof, (a) to the extent neither Allowed nor
disallowed under the Plan or a Final Order nor deemed Allowed under sections 502, 503, or 1111 of the Bankruptcy
Code, or (b) for which a Proof of Claim or Proof of Interest or a motion for payment has been timely Filed with the
Bankruptcy Court, to the extent the Debtor or any other party in interest has interposed a timely objection or request
for estimation in accordance with the Plan, the Bankruptcy Code, or the Bankruptcy Rules, which objection or request
for estimation has not been withdrawn or determined by a Final Order.

        45.        “Distribution” means Cash, property, interests in property or other value distribution to Holders of
Allowed Claims, or their designated agent, including the Liquidation Trust Beneficiaries and the Personal Injury Trust
Beneficiaries, as applicable under this Plan, or any trust agreement governing a trust created under this Plan.

         46.       “Distribution Date” means the date on which the Liquidation Trustee or the Personal Injury Trustee,
as applicable, first makes distributions from the Settlement Payment to Holders of Allowed Non-Personal Injury
Claims or Personal Injury Claims as provided in the Plan.

        47.      “Distribution Reserve Accounts” means the Cash reserve accounts established pursuant to this Plan
by the Liquidation Trustee or Personal Injury Trustee, as may be applicable, including but not limited to the
Administrative and Priority Claims Reserve and the Other Secured Claims Reserve.

          48.       “Effective Date” means the later of the first Business Day on which (a) no stay of the Confirmation
Order is in effect and (b) all conditions precedent specified in Error! Reference source not found. have been satisfied
or waived. Any action to be taken on the Effective Date may be taken on or as soon as reasonably practicable after
the Effective Date.

          49.        “Enjoined Parties” means (i) all Entities that have held, hold, or may hold Claims against or Interests
in the Debtor (whether or not Proofs of Claim or Proofs of Interest have been filed and whether or not such Entities
vote in favor of, against, or abstain from voting on the Plan or are presumed to have accepted or deemed to have
rejected the Plan), (ii) any Entity that has appeared and/or filed any motion, objection, or other pleading in this Chapter
11 Case regardless of the capacity in which such Entity appeared and any other party in interest, and (iii) for each
Entity listed in (i) and (ii), such Entity’s predecessors, successors, assigns (whether by operation of law or otherwise),
and each of their respective present, future, or former officers, directors, employees, managers, managing members,
members, financial advisors, attorneys, accountants, investment bankers, consultants, professionals, advisors,
shareholders, principals, partners, subsidiaries, divisions, management companies, heirs, agents, and other
representatives, in each case solely in their capacity as such.

         50.       “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.

          51.     “ERC Fund” means a segregated account to be funded by the proceeds of employee retention tax
credits received by the Debtor or Liquidation Trustee, as applicable.

        52.   “Estate” means the estate of the Debtor as created under section 541 of the Bankruptcy Code upon
the commencement of the Debtor’s Chapter 11 Case.



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          53.      “Expedited Distribution” means a one-time Cash payment in the amount of $5,000, to be made to a
Holder of a General Unsecured Claim that irrevocably elects, as evidenced on a Ballot timely and validly submitted
by such Holder, to have such General Unsecured Claim reduced to $5,000 and paid (upon Allowance) in full and final
satisfaction of such Claim.

         54.     “Exculpated Party” means, collectively, and in each case in its capacity as such: (a) the Debtor;
(b) the Committee and its members; and (c) Russell Perry, the Debtor’s Chief Restructuring Officer.

        55.       “Executory Contract” means a contract or lease to which the Debtor is a party that is subject to
assumption or rejection pursuant to section 365 of the Bankruptcy Code.

        56.      “File” or “Filed” means file or filed with the Bankruptcy Court or its authorized designee in the
Chapter 11 Case or, with respect to the filing of a Proof of Claim or Proof of Interest, the Claims Agent.

         57.      “Final Decree” means the decree contemplated in Bankruptcy Rule 3022.

         58.        “Final Order” means, as applicable, an order or judgment of the Bankruptcy Court or other court of
competent jurisdiction with respect to the relevant subject matter that has not been reversed, stayed, modified, or
amended, and as to which (a) the time to appeal, petition for certiorari, or move for a stay, new trial, reargument,
reconsideration, or rehearing has expired and as to which no appeal, petition for certiorari, or other proceedings for a
stay, new trial, reargument, reconsideration, or rehearing shall then be pending, or (b) if an appeal, writ of certiorari,
stay, new trial, reargument, reconsideration, or rehearing has been sought, (i) such order or judgment has been resolved
by the highest court to which the order or judgment could be appealed, certiorari shall have been denied, or a stay,
new trial, reargument, reconsideration, or rehearing shall have been denied, resulted in no modification of such order,
or has otherwise been dismissed with prejudice and (ii) the time to take any further appeal, petition for certiorari, or
move for a stay, new trial, reargument, reconsideration or rehearing shall have expired; provided, however that no
order or judgment shall fail to be a Final Order solely because of the possibility that a motion under rule 60 of the
Federal Rules of Civil Procedure or any comparable rule of the Bankruptcy Rules or state or local rules has been or
may be filed relating to such order or judgment.

         59.      “General Unsecured Claim” means any unsecured claim (including, for the avoidance of doubt, any
Personal Injury Claim and Non-Personal Injury Claim) that is not an Administrative Claim, a Secured Claim, an Other
Secured Claim, a Priority Tax Claim, an Other Priority Claim, or a Claim that is otherwise paid in full prior to the
Effective Date pursuant to an order of the Bankruptcy Court.

         60.      “Governmental Unit” has the meaning set forth in section 101(27) of the Bankruptcy Code.

         61.      “Holder” means an Entity holding a Claim or an Interest.

       62.        “Impaired” means, with respect to any Class of Claims or Interests, a Claim or an Interest that is not
Unimpaired.

         63.      “Initial Settlement Amount” is defined in Article IV.B.1.

         64.      “Installment Settlement Payment” is defined in Article IV.B.1.

         65.      “Insurance Settlement Motion” means the Debtor’s Motion Pursuant to 11 U.S.C. §§ 105(a) & 502
and Bankruptcy Rules 3007 & 9019(b) for Entry of an Order Establishing Procedures for Resolution of a Certain
Class of Claims with Rights Under Certain Arizona Insurance Policies Issued by Lone Star Alliance [Docket No. 802],
which settles and compromises certain disputes related to insurance policies issued by Lone Star Alliance under
sections 363, 503(b), 507(a)(2), 1123 and 1141 of the Bankruptcy Code, as applicable, and Bankruptcy Rule 9019.

        66.    “Interim Compensation Order” means the Order Establishing Procedures for Interim Compensation
and Reimbursement of Expenses for Professionals [Docket No. 357].



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          67.      “Interest” means any interest, equity, or share in the Debtor, including all options, warrants, or other
rights to obtain such an interest or share in the Debtor, whether or not certificated, transferable, preferred, common,
voting, or denominated “stock” or a similar security.

         68.       “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

        69.       “Liquidation Trust” means that certain trust that will come into existence on the Effective Date,
which shall be formed pursuant to, and governed by, the provisions of the Plan and the Liquidation Trust Agreement.

         70.       “Liquidation Trust Agreement” means the agreement establishing and governing the Liquidation
Trust dated as of the Effective Date, substantially in the form included in the Plan Supplement.

         71.      “Liquidation Trust Assets” means all assets of the Debtor or its Estate existing on the Effective Date
(including all Causes of Action) that are not Personal Injury Trust Assets, after giving effect to all distributions required
to be made as of or prior to the Effective Date.

       72.       “Liquidation Trustee” means the trustee of the Liquidation Trust, who shall be selected by the
Committee, in consultation with the Debtor, and who shall be named in the Plan Supplement.

         73.      “Local Bankruptcy Rules” means the Bankruptcy Local Rules of the United States Bankruptcy Court
for the Southern District of Texas as now in effect or hereafter amended.

         74.       “Non-Personal Injury Claim” means any General Unsecured Claim that is not a Personal Injury
Claim.

         75.      “Opt-Out Form” means the form included with the notice sent to (a) Holders of Claims or Interests
that are deemed to accept or reject the Plan, or (b) Holders of Disputed Claims, which provides such Holders the
opportunity to elect to opt out of the Third-Party Releases contained in Article IX.D.

        76.     “Ordinary Course Professional” means a Professional employed by the Debtor pursuant to the
Ordinary Course Professionals Order.

         77.     “Ordinary Course Professionals Order” means the Amended Order (I) Authorizing the Retention
and Compensation of Certain Professionals Utilized in the Ordinary Course of Business and (II) Granting Related
Relief [Docket No. 638].

          78.       “Other Priority Claim” means any Claim other than an Administrative Claim or a Priority Tax Claim
entitled to priority in right of payment under section 507(a) of the Bankruptcy Code, to the extent such Claim has not
already been paid during the Chapter 11 Case.

         79.       “Other Secured Claim” means any Secured Claim, other than a DIP Claim.

         80.       “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.

         81.        “Personal Injury Claim” means any General Unsecured Claim that directly, indirectly or
derivatively, is attributable to, arises from, is based upon, relates to, or results from alleged personal injury tort or
wrongful death claims within the meaning of 28 U.S.C. § 157(b)(2)(B).

        82.      “Personal Injury Trust” means that certain trust that will come into existence on the Effective Date,
which shall be formed pursuant to, and governed by, the provisions of the Plan and the Personal Injury Trust
Agreement.

         83.      “Personal Injury Trust Agreement” means the agreement establishing and governing the Personal
Injury Trust dated as of the Effective Date, substantially in the form included in the Plan Supplement.



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         84.       “Personal Injury Trust Assets” means (a) twenty-three percent (23%) of the Cash from the Initial
Settlement Payment after payment of Allowed Administrative Claims and Allowed Priority Tax Claims; (b) fifty
percent (50%) of the Cash from each Installment Settlement Payment; and (c) all rights of the Debtor or its Estate
existing on the Effective Date under its professional liability insurance policies, including Causes of Action against
insurers providing such policies, but no other Causes of Action. For the avoidance of doubt, the Personal Injury Trust
Assets shall not include funds held in the Professional Fee Escrow.

       85.       “Personal Injury Trustee” means the trustee of the Personal Injury Trust, who shall be selected by
the Committee, in consultation with the Debtor, and who shall be named in the Plan Supplement.

         86.      “Petition Date” means February 13, 2023, the date on which the Debtor commenced the Chapter 11
Case.

        87.      “Plan of Divisional Merger” means that certain Agreement and Plan of Divisional Merger dated as
of May 1, 2022, by Corizon Health, Inc.

          88.      “Plan Supplement” means the compilation of documents and forms of documents, agreements,
schedules, and exhibits to the Plan to be filed in one or more parts of volumes by the Debtor, at least seven (7) calendar
days prior to the Confirmation Objection Deadline, as the same may be amended, supplemented, or modified from
time to time on the terms set forth herein, containing, without limitation: (a) the form of Liquidation Trust Agreement;
(b) the form of Personal Injury Trust Agreement; (c) the Assumed Executory Contract and Unexpired Lease List; (c) a
schedule of Retained Causes of Action; (d) the identity and compensation of the Liquidation Trustee; and (e) the
identity and compensation of the Personal Injury Trustee.

         89.      “Post-Effective Date Debtor” means the Debtor, the Liquidation Trust, or any successor thereto after
the Effective Date responsible for winding down the Debtor’s Estate and implementing the terms of the Plan.

         90.      “Priority Claims” means, collectively, Priority Tax Claims and Other Priority Claims.

        91.       “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in section
507(a)(8) of the Bankruptcy Code.

          92.     “Pro Rata” means the proportion that an Allowed Claim or an Allowed Interest in a particular Class
bears to the aggregate amount of Allowed Claims or Allowed Interests in such Class.

         93.      “Professional” means any Entity retained by and to be compensated from the Estate pursuant to
sections 327, 328, 330, 331, 363, 503(b) or 1103 of the Bankruptcy Code.

        94.     “Professional Fee Claims” means any Claim by a Professional under sections 330, 331 or 503 of
the Bankruptcy Code for allowance of compensation and/or reimbursement of expenses in the Chapter 11 Case.

         95.     “Professional Fee Escrow” means the segregated account established pursuant to the DIP Order for
the payment of Professional Fee Claims during the course of the Chapter 11 Case. The Professional Fee Escrow shall
be funded by the Debtor, no later than the Effective Date, in an amount of Cash equal to the expected Allowed
Professional Fee Claims. The Professional Fee Escrow and the Cash therein shall remain subject to the jurisdiction
of the Bankruptcy Court and shall not be used for any purpose other than to pay Allowed Professional Fee Claims. If,
following the payment of all Allowed Professional Fee Claims in full there remains Cash in the Professional Fee
Escrow, such Cash shall be transferred to the Liquidation Trust and become part of the Liquidation Trust Assets.

         96.      “Proof of Claim” means a proof of Claim Filed against the Debtor in the Chapter 11 Case.

         97.      “Proof of Interest” means a proof of Interest Filed in the Debtor’s Chapter 11 Case.

         98.      “Proponents” means the Debtor and the Committee, together, as joint proponents of the Plan.



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          99.      “Released Parties” means collectively the following, in each case in its capacity as such with each
being a “Released Party”: (a) the Debtor; (b) Russell Perry, the Debtor’s Chief Restructuring Officer; (c) the
Committee and its members; (d) the Liquidation Trustee; (e) the Personal Injury Trustee; (f) the Settlement Parties;
(g) M2 EquityCo LLC; (h) Valitás Intermediate Holdings Inc.; (i) Valitás Health Services, Inc.; (j) M2 Pharmacorr
Equity Holdings LLC; (k) Pharmacorr/M2 LLC; (l) Pharmacorr Holdings LLC; (m) Endeavor Distribution LLC; (n)
CHS Texas LLC; (o) Yes Care Holdings LLC; (p) Sigma RM, LLC; (q) DG Realty Management LLC; (r) Scaracor
LLC; (s) Yitzchak Lefkowitz a/k/a Isaac Lefkowitz; (t) Sara Ann Tirschwell; (u) Ayodeji Olawale Ladele; (v) Beverly
Michelle Rice; (w) Jeffrey Scott King; (x) Jennifer Lynee Finger; (y) Frank Jeffrey Sholey; (z) for each Entity listed
in (a) through (y), each of their respective current and former officers, directors, and managers; (aa) for each Entity
listed in (b) through (y), each of their respective current and former employees and agents; and (bb) for each Entity
listed in (d) through (y), each of their respective attorneys and other professional advisors; provided, however, that
James Gassenheimer, Charles Gassenheimer, James Hyman, and Michael Flacks shall not be a “Released Party.”

         100.      “Releasing Parties” means collectively the following, in each case in its capacity as such with each
being a “Releasing Party”: (a) the Debtor; (b) the Committee; (c) the Liquidation Trustee; (d) the Personal Injury
Trustee; (e) the Settlement Parties; and (f) Consenting Creditors.

         101.     “Retained Causes of Action” means Causes of Action scheduled in the Plan Supplement as
“retained” and transferred to the applicable Trust.

        102.    “Schedules” means, collectively, the schedule of assets and liabilities, schedule of Executory
Contracts and Unexpired Leases and statement of financial affairs Filed by the Debtor pursuant to section 521 of the
Bankruptcy Code, if any, as such schedules may be amended, modified, or supplemented from time to time.

         103.       “Secured Claim” means a Claim: (a) secured by a valid, perfected, and enforceable Lien on upon
property in which the Debtor has an interest to the extent of the value, as of the Effective Date, of such interest or Lien
or (b) subject to a valid right of setoff pursuant to section 553 of the Bankruptcy Code.

        104.    “Settlement Parties” means, collectively, YesCare Corp., its wholly owned subsidiaries (including
CHS TX, Inc.), Geneva Consulting, LLC, Perigrove 1018, LLC, Perigrove, LLC, M2 HoldCo, LLC, M2 LoanCo,
LLC, and PharmaCorr LLC.

         105.     “Settlement Payment” is defined in Article IV.B.1.

         106.       “Third-Party Release” means the release given by each of the Releasing Parties to the Released
Parties as set forth in Article IX.D.

         107.     “Trust” or “Trusts” means either or both of the Liquidation Trust and the Personal Injury Trust, as
the context may require.

         108.     “Trust Agreement” or “Trust Agreements” means either or both of the Liquidation Trust Agreement
and the Personal Injury Trust Agreement, as applicable.

         109.     “Trustee” or “Trustees” means either or both of the Liquidation Trustee and the Personal Injury
Trustee, as applicable.

         110.      “Unexpired Lease” means a lease of nonresidential real property to which the Debtor is a party that
is subject to assumption or rejection under section 365 of the Bankruptcy Code.

         111.    “Unimpaired” means a Class of Claims or Interests that is unimpaired within the meaning of section
1124 of the Bankruptcy Code.

         112.     “U.S. Trustee” means the Office of the United States Trustee for the Southern District of Texas.

         113.     “U.S. Trustee Fees” means fees arising under 28 U.S.C. § 1930(a)(6).


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B.       Rules of Interpretation

          For purposes of the Plan: (1) in the appropriate context, each term, whether stated in the singular or the
plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter gender
shall include the masculine, feminine, and the neuter gender; (2) unless otherwise specified, any reference in the Plan
to an existing document, schedule, or exhibit, shall mean such document, schedule, or exhibit, as it may have been or
may be amended, modified, or supplemented; (3) unless otherwise specified, all references in the Plan to “Articles”
and “Sections” are references to Articles and Sections, respectively, hereof or hereto; (4) the words “herein,” “hereof,”
and “hereto” refer to the Plan in its entirety rather than to any particular portion of the Plan; (5) any effectuating
provisions may be interpreted by the Debtor or the Liquidation Trustee in such a manner that is consistent with the
overall purpose and intent of the Plan all without further notice to or action, order, or approval of the Bankruptcy Court
or any other Entity; (6) captions and headings to Articles and Sections are inserted for convenience of reference only
and are not intended to be a part of or to affect the interpretation of the Plan; (7) unless otherwise specified in the Plan,
the rules of construction set forth in section 102 of the Bankruptcy Code shall apply; (8) any term used in capitalized
form in the Plan that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy Rules shall
have the meaning assigned to such term in the Bankruptcy Code or the Bankruptcy Rules, as applicable; (9) references
to docket numbers of documents filed in the Chapter 11 Case are references to the docket numbers under the
Bankruptcy Court’s CM/ECF system; (10) references to “Proofs of Claim,” “Holders of Claims,” “Disputed Claims,”
and the like shall include “Proofs of Interest,” “Holders of Interests,” “Disputed Interests,” and the like as applicable;
(11) references to “shareholders,” “directors,” and/or “officers” shall also include “members” and/or “managers,” as
applicable, as such terms are defined under the applicable state limited liability company laws; (12) the terms
“include” and “including,” and variations thereof, shall not be deemed to be terms of limitation, and shall be deemed
to be followed by the words “without limitation”; and (13) except as otherwise provided in the Plan, any reference to
the Effective Date shall mean the Effective Date or as soon as reasonably practicable thereafter.

C.       Computation of Time

         Unless otherwise specifically stated in the Plan, the provisions of Bankruptcy Rule 9006(a) shall apply in
computing any period of time prescribed or allowed in the Plan. If the date on which a transaction may occur pursuant
to the Plan shall occur on a day that is not a Business Day, then such transaction shall instead occur on the next
succeeding Business Day.

D.       Governing Law

          Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and Bankruptcy
Rules) or unless otherwise specifically stated, the laws of the State of Texas, without giving effect to the principles of
conflict of laws, shall govern the rights, obligations, construction, and implementation of the Plan, any agreements,
documents, instruments, or contracts executed or entered into in connection with the Plan (except as otherwise set
forth in those agreements, in which case the governing law of such agreement shall control).

E.       Reference to Monetary Figures

        All references in the Plan to monetary figures refer to currency of the United States of America, unless
otherwise expressly provided herein.

F.       Controlling Document

         In the event of an inconsistency between the Plan and the Disclosure Statement, the terms of the Plan shall
control in all respects. In the event of an inconsistency between the Plan and the documents contained in the Plan
Supplement, the Plan shall control. In the event of any inconsistency between the Plan and the Confirmation Order,
the Confirmation Order shall control.




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                                               ARTICLE II.
                                   ADMINISTRATIVE AND PRIORITY CLAIMS

        In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, Professional Fee
Claims, DIP Claims, and Priority Claims have not been classified and shall be treated as follows:

A.       Administrative Claims

         Except as otherwise provided by a Final Order entered by the Bankruptcy Court, requests for payment of
Administrative Claims must be Filed and served on the Debtor, its counsel, counsel to the Committee and, if filed after
the Effective Date, the Litigation Trustee and the Personal Injury Trustee, no later than the Administrative Claims Bar
Date. Each request for payment of an Administrative Claim must set forth, at a minimum, (a) the name of the Holder
of the Administrative Claim, (b) the amount of the Administrative Claim and (c) a detailed basis for the Administrative
Claim. A failure to file any such request by the Administrative Claims Bar Date shall result in the Administrative
Claim in question being discharged and its Holder being forever barred, estopped, and enjoined from asserting such
Administrative Claim against the Debtor, its Estate or any other Entity.

         A request for payment of an Administrative Claim that has been properly and timely Filed and served shall
become an Allowed Administrative Claim unless an objection is filed by the date that is thirty (30) days after such
request has been Filed and served. If a timely objection is Filed, the Administrative Claim in question shall become
Allowed only to the extent set forth in a Final Order of the Bankruptcy Court.

          Unless otherwise agreed by a Holder of an Allowed Administrative Claim and the Debtor or the Liquidation
Trustee, as applicable, each Holder of an Allowed Administrative Claim and Claims for U.S. Trustee Fees will receive,
in full and final satisfaction of its Administrative Claim, Cash in an amount equal to the Allowed amount of such
Administrative Claim in accordance with the following: (1) if an Administrative Claim is Allowed as of the Effective
Date, on the Effective Date; (2) if such Administrative Claim is not Allowed as of the Effective Date, no later than ten
(10) days after the date on which an order Allowing such Administrative Claim becomes a Final Order, or as soon as
reasonably practicable thereafter; or (3) at such time and upon such terms as set forth in a Final Order of the
Bankruptcy Court or as otherwise agreed to between the Holder of such Allowed Administrative Claim and the
Liquidation Trustee.

         If an Administrative Claim is Allowed after the Effective Date and there are insufficient funds to pay such
Allowed Administrative Claim from the Administrative and Priority Claims Reserve, any unpaid portion of such
Allowed Administrative Claim shall be paid seventy-seven percent (77%) from the Liquidation Trustee from the
Liquidation Trust Assets and twenty-three percent (23%) from the Personal Injury Trustee from the Personal Injury
Trust Assets.

B.       Professional Fee Claims

         1.      Final Fee Applications and Payment of Professional Fee Claims

         Every Professional holding a Professional Fee Claim that has not previously been the subject of a final fee
application and accompanying Bankruptcy Court order approving the same shall File a final application for payment
of such Professional Fee Claim no later than 45 calendar days after the Effective Date. Any such final fee application
shall conform to and comply with all applicable provisions of the Bankruptcy Code, the Bankruptcy Rules and the
Local Rules. The last date to object to such final fee application shall be the 21st day after such fee application has
been Filed, and all final fee applications shall be set for hearing on the same day, as the Bankruptcy Court’s calendar
permits, after consultation with counsel to the Debtor. The Liquidation Trustee shall pay the full amount of each
Professional Fee Claim no later than ten (10) days following entry of a Final Order by the Bankruptcy Court Allowing
such Professional Fee Claim from the funds held in the Professional Fee Escrow Account.




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         2.      Professional Fee Escrow Account

         As soon as is reasonably practicable after the Effective Date, the Debtor shall fund the Professional Fee
Escrow Account (from Cash on hand and the Initial Settlement Amount) in an amount sufficient to pay all expected
Allowed Professional Fee Claims in full. The Professional Fee Escrow Account shall be held for the sole benefit of
Estate Professionals until all Allowed Professional Fee Claims been paid in full. No Liens, claims, or interests of any
kind shall encumber the Professional Fee Escrow Account or the Cash contained therein in any way. Funds held in
the Professional Fee Escrow Account shall not be considered property of the Debtor’s Estate or of the Post-Effective
Date Debtor. Funds held in the Professional Fee Escrow Account shall be considered property of the Liquidation Trust
to be distributed by the Liquidation Trustee under the terms and conditions set forth in the Plan and the Liquidation
Trust Agreement.

         Upon Allowance of a Professional Fee Claim, the same shall be paid as soon as reasonably practicable in
Cash by the Liquidation Trustee from the funds held in the Professional Fee Escrow Account; provided that the
Debtor’s and the Liquidation Trustee’s obligations to pay Allowed Professional Fee Claims shall not be limited or be
deemed limited to funds held in the Professional Fee Escrow Account. To the extent that there are insufficient funds
in the Professional Fee Escrow Account to satisfy all Allowed Professional Fee Claims in full, any such Allowed
Professional Fee Claims (or portions thereof that remain unpaid from the Professional Fee Escrow Account) shall be
paid as an Allowed Administrative Claim in accordance with Article II.A.

         When all Allowed Professional Fee Claims have been irrevocably paid in full pursuant to one or more Final
Orders of the Bankruptcy Court (as and if such Final Orders may be required), any remaining funds held in the
Professional Fee Escrow Account shall be paid seventy-seven percent (77%) to the Liquidation Trust and twenty-three
percent (23%) to the Personal Injury Trust.

         3.      Professional Fee Escrow Amount

          Each Professional shall provide a reasonable and good-faith estimate of its fees and expenses incurred in
rendering services to the Debtor before and as of the Effective Date that are projected to be outstanding as of the
Effective Date, and shall deliver such estimate to the Debtor no later than five days before the anticipated Effective
Date; provided, however, that such estimate shall not be, nor shall it be deemed to be, an admission or limitation with
respect to the amount of any Professional Fee Claim. If a Professional does not provide an estimate of its Professional
Fee Claim, the Debtor may estimate the amount of unpaid and unbilled fees and expenses of such Professional. The
aggregate amount of Professional fee estimates as of the Effective Date shall be utilized by the Debtor to determine
the amount to be funded to the Professional Fee Escrow Account.

         4.      Post-Effective Date Fees and Expenses

          Except as otherwise specifically provided in the Plan, from and after the Effective Date, the Liquidation
Trustee or Personal Injury Trustee, as applicable, may, in the ordinary course of business and without the need for any
further notice to or action, order, or approval of the Bankruptcy Court, pay the reasonable, actual, and documented
legal, professional, or other fees and expenses incurred on or after the Effective Date in connection with administering
the Liquidation Trust and the Personal Injury Trust, as applicable, and in accordance with the Plan, Liquidation Trust
Agreement, and Personal Injury Trust Agreement, as applicable. Upon the Effective Date, any requirement that
Professionals comply with sections 327 through 331 and 1103 of the Bankruptcy Code, the Interim Compensation
Order, or the Ordinary Course Professionals Order in seeking retention or compensation for services rendered after
such date shall terminate.

C.       DIP Claims

         DIP Claims shall be treated and satisfied pursuant to the global settlement set forth in Article IV.B.2.




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D.       Priority Tax Claims

         1.      Priority Federal Tax Claims

          Except to the extent that a federal Governmental Unit Holder of an Allowed Priority Tax Claim agrees to less
favorable treatment, in full and final satisfaction, settlement, release, and discharge of and in exchange for each
Allowed Priority Tax Claim, each federal Governmental Unit Holder of such Allowed Priority Tax Claim will receive,
at the sole option of the Debtor or Liquidation Trustee, as applicable, either: (1) an amount of Cash from the ERC Fund
equal to the amount of such Allowed Priority Tax Claim by the later of (a) ninety (90) days after the date on which
such Priority Tax Claim becomes Allowed, or as soon as reasonably practicable thereafter, or (b) ten (10) days after
the date on which the ERC Fund is funded; or (2) regular installment payments in Cash of a total value, as of the
Effective Date, equal to the Allowed amount of such Claim over a period ending not later than five years after the
Petition Date. For the avoidance of doubt, federal Governmental Unit Holders of Allowed Priority Tax Claims will
receive interest on such Allowed Priority Tax Claims after the Effective Date in accordance with sections 511 and
1129(a)(9)(C) of the Bankruptcy Code.

         2.      Priority State Tax Claims

         Except to the extent that a state Governmental Unit Holder of an Allowed Priority Tax Claim agrees to less
favorable treatment, in full and final satisfaction, settlement, release, and discharge of and in exchange for each
Allowed Priority Tax Claim, each state Governmental Unit Holder of such Allowed Priority Tax Claim will receive
an amount of Cash equal to the amount of such Allowed Priority Tax Claim no later than ninety (90) days after the
date on which such Priority Tax Claim becomes Allowed, or as soon as reasonably practicable thereafter. For the
avoidance of doubt, state Governmental Unit Holders of Allowed Priority Tax Claims will receive interest on such
Allowed Priority State Tax Claims after the Effective Date in accordance with sections 511 and 1129(a)(9)(C) of the
Bankruptcy Code.

                                      ARTICLE III.
              CLASSIFICATION, TREATMENT, AND VOTING OF CLAIMS AND INTERESTS

          In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, Priority Tax Claims,
and Professional Fee Claims have not been classified and thus are excluded from the Classes of Claims and Interests
set forth in this Article III.

A.       Classification of Claims and Interests

        All Claims and Interests, other than the Claims addressed in Article II, are classified as set forth below in
accordance with sections 1122 and 1123(a)(1) of the Bankruptcy Code.

 Class                      Claim or Interest                         Status                   Voting Rights
                                                                                            Not Entitled to Vote
     1    Other Priority Claims                                    Unimpaired
                                                                                            (Deemed to Accept)
                                                                                            Not Entitled to Vote
     2    Other Secured Claims                                     Unimpaired
                                                                                            (Deemed to Accept)

     3    Convenience Claims                                         Impaired                 Entitled to Vote

     4    Non-Personal Injury Claims                                 Impaired                 Entitled to Vote

     5    Personal Injury Claims                                     Impaired                 Entitled to Vote

                                                                                            Not Entitled to Vote
     6    Contingent Indemnification Claims                          Impaired
                                                                                            (Deemed to Reject)


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 Class                   Claim or Interest                             Status                   Voting Rights
                                                                                              Not Entitled to Vote
     7    Interests in the Debtor                                    Impaired
                                                                                              (Deemed to Reject)

B.       Treatment and Voting of Classes of Claims and Interests

         1.       Class 1 — Other Priority Claims

                  (a)      Treatment: Except to the extent that a Holder of an Allowed Other Priority Claim agrees
                           to less favorable treatment, each Holder of an Allowed Other Priority Claim shall receive,
                           in full and final satisfaction of such Claim, payment in full in Cash from the Liquidation
                           Trustee on (or as soon as reasonably practicable after) the later of (i) the Effective Date or
                           (ii) thirty (30) days after such Other Priority Claim becomes Allowed, or (iii) a date on
                           which the Holder of such Other Priority Claim and the Debtor or Liquidation Trustee, as
                           applicable, shall otherwise agree in writing.

                  (b)      Voting: Class 1 is Unimpaired under the Plan. Holders of Allowed Other Priority Claims
                           are conclusively presumed to have accepted the Plan under section 1126(f) of the
                           Bankruptcy Code and are not entitled to vote to accept or reject the Plan.

         2.       Class 2 — Other Secured Claims

                  (a)      Treatment: Except to the extent that a Holder of an Allowed Other Secured Claim agrees
                           to a less favorable treatment, each Holder of an Allowed Other Secured Claim shall receive,
                           in full and final satisfaction of such Claim, at the sole option of the Debtor or Liquidation
                           Trustee, as applicable, either:

                           (i)      payment in full in Cash on the later of (w) the Effective Date (or as soon as
                                    reasonably practicable thereafter), (x) the date on which such Other Secured
                                    Claim becomes Allowed, (y) the date payment on account of such Other Secured
                                    Claim is due; or (z) the date on which the Holder of such Allowed Other Secured
                                    Claim and the Debtor or the Liquidation Trustee, as applicable, shall otherwise
                                    agree in writing;

                           (ii)     the Debtor’s interest in the collateral securing such Allowed Other Secured Claim;
                                    or

                           (iii)    other treatment that renders such Allowed Other Secured Claim Unimpaired.

                  (b)      Voting: Class 2 is Unimpaired under the Plan. Holders of Allowed Other Secured Claims
                           are conclusively presumed to have accepted the Plan under section 1126(f) of the
                           Bankruptcy Code and are not entitled to vote to accept or reject the Plan.

         3.       Class 3 — Convenience Claims

                  (a)      Treatment: On the first Business Day that is thirty (30) days following the Effective Date,
                           each Holder of a Convenience Claim shall receive, in full and final satisfaction of such
                           Claim, payment in full in Cash.

                  (b)      Voting: Class 3 is Impaired under the Plan. Holders of Allowed Convenience Claims are
                           entitled to vote to accept or reject the Plan.




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         4.      Class 4 — Non-Personal Injury Claims

                 (a)     Treatment:

                         (i)     Subject to first seeking a recovery from any applicable insurance or other third
                                 parties pursuant to Article VI.G, on the Effective Date (or as soon as reasonably
                                 practicable thereafter) except to the extent that a Holder of an Allowed Non-
                                 Personal Injury Claim agrees to less favorable treatment, each Holder of an
                                 Allowed Non-Personal Injury Claim shall receive, in full and final satisfaction of
                                 such Claim, a beneficial interest in the Liquidation Trust. Thereafter each such
                                 Holder shall receive Cash distributions from the Liquidation Trust. Distributions
                                 from the Liquidation Trust to Holders of Allowed Non-Personal Injury Claims
                                 shall be on a Pro Rata basis with all other holders of Liquidation Trust beneficial
                                 interests in accordance with the terms of the Liquidation Trust Agreement. For
                                 the avoidance of doubt, only Consenting Creditors will have the right to receive
                                 distributions from the Settlement Payment and excess ERC Funds, if any.

                         (ii)    Notwithstanding the above, each Holder of an Allowed Non-Personal Injury
                                 Claim shall have the option on the Ballot to elect for an Expedited Distribution.
                                 Any Holder of a Non-Personal Injury Claim who elects for the Expedited
                                 Distribution shall be deemed to have (a) voted to accept the Plan and (b) consented
                                 and agreed to and not opted out of the releases contained in Article IX.D. An
                                 election on the Ballot for an Expedited Distribution shall be irrevocable, shall be
                                 conclusive and controlling, and shall govern over any and all other markings on
                                 the Ballot. An Expedited Distribution shall be paid by the Liquidation Trustee or
                                 an insurer, as applicable, on the later of (a) the Effective Date or (b) within ten
                                 (10) business days after such General Unsecured Claim becomes an Allowed
                                 Claim by Final Order.

                 (b)     Voting: Class 4 is Impaired under the Plan. Holders of Allowed Non-Personal Injury
                         Claims are entitled to vote to accept or reject the Plan.

         5.      Class 5 — Personal Injury Claims

                 (a)     Treatment:

                         (i)     Subject to first seeking a recovery from any applicable insurance or other third
                                 parties pursuant to Article VI.G, on the Effective Date (or as soon as reasonably
                                 practicable thereafter) except to the extent that a Holder of an Allowed Personal
                                 Injury Claim agrees to less favorable treatment, each Holder of an Allowed
                                 Personal Injury Claim shall receive, in full and final satisfaction of such Claim, a
                                 beneficial interest in the Personal Injury Trust. Thereafter, each such Holder shall
                                 receive Cash distributions from the Personal Injury Trust. Distributions from the
                                 Personal Injury Trust to Holders of Allowed Personal Injury Claims shall be paid
                                 to holders of Personal Injury Trust beneficial interests in accordance with the
                                 terms of the Personal Injury Trust Agreement. For the avoidance of doubt, any
                                 treatment provided to one or more Holders of Personal Injury Claims pursuant to
                                 the provisions of the Confirmation Order approving the Insurance Settlement
                                 Motion shall take precedence over the treatment provided in this Article III.B.5.

                         (ii)    Notwithstanding the above, each Holder of an Allowed Personal Injury Claim
                                 shall have the option on the Ballot to elect for an Expedited Distribution. Any
                                 Holder of a Personal Injury Claim who elects for the Expedited Distribution shall
                                 be deemed to have (a) voted to accept the Plan and (b) consented and agreed to
                                 and not opted out of the releases contained in Article IX.D. An election on the
                                 Ballot for an Expedited Distribution shall be irrevocable, shall be conclusive and

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                                     controlling, and shall govern over any and all other markings on the Ballot. An
                                     Expedited Distribution shall be paid by an insurer, or the Personal Injury Trustee,
                                     as applicable, within sixty (60) days following the Effective Date.

                  (b)      Voting: Class 5 is Impaired under the Plan. Holders of Allowed Personal Injury Claims
                           are entitled to vote to accept or reject the Plan.

         6.       Class 6 — Contingent Indemnification Claims

                  (a)      Treatment: On the Effective Date, all Contingent Indemnification Claims shall be
                           Disallowed pursuant to section 502(e)(1)(B) of the Bankruptcy Code. Holders of
                           Contingent Indemnification Claims shall not receive any distribution on account of such
                           Claims.

                  (b)      Voting: Class 6 is Impaired under the Plan. Holders of Contingent Indemnification Claims
                           are conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the
                           Bankruptcy Code and are not entitled to vote to accept or reject the Plan.

         7.       Class 7 — Interests in the Debtor

                  (a)      Treatment: On the Effective Date, all Interests in the Debtor shall be cancelled, released,
                           discharged, and extinguished. Holders of Interests in the Debtor shall not receive any
                           distribution on account of such Interests.

                  (b)      Voting: Class 7 is Impaired under the Plan. Holders of Interests in the Debtor are
                           conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the
                           Bankruptcy Code and are not entitled to vote to accept or reject the Plan.

C.       Elimination of Vacant Classes

        Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or Allowed Interest or a
Claim or Interest temporarily Allowed by the Bankruptcy Court as of the date of the Confirmation Hearing shall be
deemed eliminated from the Plan for purposes of voting to accept or reject the Plan and for purposes of determining
acceptance or rejection of the Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

D.       Voting Classes; Presumed Acceptance by Non-Voting Classes

         If a Class contains Claims or Interests eligible to vote and no Holders of Claims or Interests eligible to vote
in such Class vote to accept or reject the Plan, the Debtor shall request the Bankruptcy Court to deem the Plan accepted
by the Holders of such Claims or Interests in such Class.

E.       Confirmation Pursuant to Section 1129(b) of the Bankruptcy Code

         To the extent any Class is impaired under the Plan and such Class fails to accept this Plan in accordance with
section 1126(c) or (d) of the Bankruptcy Code, the Proponents hereby request that the Bankruptcy Court confirm the
Plan in accordance with section 1129(b) of the Bankruptcy Code. The Proponents reserve the right to modify the Plan
in accordance with Article XI to the extent, if any, that Plan confirmation pursuant to section 1129(b) of the Bankruptcy
Code requires modification, including by modifying the treatment applicable to a Class of Claims to render such Class
of Claims Unimpaired to the extent permitted by the Bankruptcy Code and the Bankruptcy Rules.




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                                             ARTICLE IV.
                                MEANS FOR IMPLEMENTATION OF THE PLAN

A.       Sources of Consideration for Plan Distributions

         Sources of consideration for Plan distributions shall be: (1) Cash on hand; (2) the Settlement Payment;
(3) the Debtor’s insurance policies; and (4) the Liquidation Trust Assets and the Personal Injury Trust Assets, as
applicable.

B.       Global Settlement

         The Debtor, the Committee, and the Settlement Parties have reached a global resolution of all issues among
them in this Chapter 11 Case. Pursuant to Bankruptcy Rule 9019, the Plan does, and shall, constitute a compromise,
settlement, and release of all potential claims by and among the Settlement Parties on the terms set forth below. Entry
of the Confirmation Order shall constitute approval of the global resolution set forth below, which shall become
effective upon the Effective Date.

         1.       The Settlement Payment.

                  (a)        The Settlement Parties shall pay or cause to be paid to the Debtor or Liquidation Trustee,
                             as applicable, aggregate Cash in the amount of Thirty-Seven Million Dollars
                             ($37,000,000.00) (the “Settlement Payment”), as follows: (i) on or before the Effective
                             Date, the Settlement Parties shall pay or cause to be paid to the Debtor’s estate Cash in the
                             amount of Twenty-Five Million Dollars ($25,000,000.00) (the “Initial Settlement
                             Amount”), reduced as set forth in Article IV.B.2; and (ii) after the Effective Date, the
                             Settlement Parties shall pay or cause to be paid to the Liquidation Trustee Cash in the
                             aggregate amount of Twelve Million Dollars ($12,000,000), in installments of One Million
                             Dollars ($1,000,000.00) (each, an “Installment Settlement Payment”), with the first
                             payment to be made 30 days after the Effective Date, and the subsequent 11 installments
                             to be made every 30 days thereafter until paid in full, with the final installment being made
                             no later than 360 days after the Effective Date.

                  (b)        If the Settlement Parties fail to timely pay or cause to be paid any of the Installment
                             Settlement Payments, the Debtor or either Trustee, shall promptly provide written notice
                             of the claimed payment default to counsel for Perigrove 1018, LLC at the following email
                             addresses: mhayward@haywardfirm.com. The Settlement Parties may cure the payment
                             default by making the missed payment within five (5) calendar days of the written notice.
                             The Settlement Parties shall have the opportunity to cure a total of two payment defaults,
                             unless otherwise agreed by both Trustees in writing. Upon a third failure to make a timely
                             Installment Settlement Payment, either Trustee may file a notice of default with the
                             Bankruptcy Court and serve notice on counsel to the Settlement Parties by email to:
                             mhayward@haywardfirm.com. Upon such filing and service, unless both Trustees agree
                             otherwise in writing, any releases proposed to and from the Released Parties in
                             Article IV.B.4, Article IX.C, and Article IX.D shall be null and void.

         2.       Settlement Parties’ Release of Certain Claims.

         On the Effective Date, the Settlement Parties shall release and waive all claims and causes of action against
the Debtor’s estate, including, without limitation, the DIP Lender’s claims under the DIP Order that accrued prior to
August 23, 2023, and the Proofs of Claim filed by Geneva Consulting LLC (KCC Claims Register No. 572 for
$315,032.97) and M2 LoanCo, LLC (KCC Claims Register No. 589 for $24,032,965), which Claims shall be
Disallowed for all purposes and expunged from the Claims Register; provided, however, that all amounts advanced
by the DIP Lender pursuant to the DIP Order on or after August 23, 2023, shall not be released but shall instead be
credited dollar-for-dollar against the Initial Settlement Amount.



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         3.        Consent to Releases of the Released Parties.

          As set forth more fully on the Ballot or Opt-Out Form, all Consenting Creditors shall be deemed to have
consented to the Third-Party Release contained in Article IX.D regardless of whether a Ballot or Opt-Out Form has
been submitted. In consideration for the Third-Party Release set forth in Article IX.D and the other releases set forth
in this Plan, the Settlement Parties shall provide the Settlement Payment. Any Holder of a Claim or Interest who
has checked the box on the Ballot or Opt-Out Form to opt out of the Third-Party Release or has objected to the
Plan in respect of the release shall be deemed to have forever waived and forfeited its right to its applicable
share of the Settlement Payment and any applicable proceeds of the ERC Fund (after payment in full of all
Allowed Priority Tax Claims, as provided in Article II.D.1).

         4.        Settlement Releases.

           Upon payment in full of the Settlement Amount as provided in Article IV.B.1, and as more fully described in
Article IX.D, the Releasing Parties, in each case on behalf of themselves and their respective successors, assigns, and
representatives, and any and all other entities who may purport to assert any causes of action, directly or derivatively,
by, through, for, or because of the foregoing entities, shall be deemed to have released, and shall be permanently
enjoined from any prosecution or attempted prosecution of, any and all claims, causes of action, interests, damages,
remedies, demands, rights, actions (including Avoidance Actions), suits, debts, sums of money, obligations, judgments,
liabilities, accounts, defenses, offsets, counterclaims, crossclaims, powers, privileges, licenses, liens, indemnities,
guaranties, and franchises of any kind or character whatsoever, whether known or unknown, foreseen or unforeseen,
now existing or hereafter arising, contingent or non-contingent, liquidated or unliquidated, choate or inchoate, secured
or unsecured, assertable, directly or derivatively, matured or unmatured, suspected or unsuspected, in contract, tort,
law, equity, or otherwise, which any of them has or may have against: (a) the Settlement Parties; (b) M2 EquityCo
LLC; (c) Valitás Intermediate Holdings Inc.; (d) Valitás Health Services, Inc.; (e) M2 Pharmacorr Equity Holdings
LLC; (f) Pharmacorr/M2 LLC; (g) Pharmacorr Holdings LLC; (h) Endeavor Distribution LLC; (i) CHS Texas LLC;
(j) Yes Care Holdings LLC; (k) Sigma RM, LLC; (l) DG Realty Management LLC; (m) Scaracor LLC; (n) Yitzchak
Lefkowitz a/k/a Isaac Lefkowitz; (o) Sara Ann Tirschwell; (p) Ayodeji Olawale Ladele; (q) Beverly Michelle Rice;
(r) Jeffrey Scott King; (s) Jennifer Lynee Finger; (t) Frank Jeffrey Sholey; and (u) for each Entity listed in (a) through
(t), each of their respective current and former officers, directors, employees, managers, attorneys, professional
advisors, and agents; provided, however, that nothing herein shall release any claims or causes of action of any kind,
by any Entity, against James Gassenheimer, Charles Gassenheimer, James Hyman, and Michael Flacks or any
obligations under this Plan; provided, further, that nothing herein shall release claims or causes of action to enforce
the terms of the Plan, including but not limited to the global settlement provisions in this Article IV.B; provided,
further, that nothing in this Article IV.B.4 shall alter or diminish the release set forth in Paragraph 17 of the DIP Order;
provided, further, that the Challenge Period (as defined in the DIP Order) is extended for the Liquidation Trustee
through the date the releases in Article IV become effective. For the avoidance of doubt, the releases described in this
paragraph are not effective unless and until the full Settlement Amount is paid by the Settlement Parties, including,
without limitation, each Installment Settlement Payment pursuant to Article IV.B.1.

C.       General Settlement of Claims

          Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the
classification, distributions, releases, and other benefits provided under the Plan, on the Effective Date, the provisions
of the Plan shall constitute a good-faith compromise and settlement of all Claims, Interests, and controversies resolved
pursuant to the Plan.

D.       Insurance Settlements

        The Plan incorporates the Insurance Settlement Motion as if set forth fully in the Plan. The Insurance
Settlement Motion shall be approved as part of the Plan pursuant to the Confirmation Order.




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E.       Post-Effective Date Debtor, Liquidation Trust, and Personal Injury Trust

         1.       Post-Effective Date Debtor and the Liquidation Trust

          On the Effective Date, the Liquidation Trust will be formed pursuant to the Liquidation Trust Agreement to
receive and liquidate the Liquidation Trust Assets and wind down the Debtor’s Estate. In addition, the Liquidation
Trust shall serve as a successor to the Debtor pursuant to sections 1123(a)(5)(B) and (b)(3)(B) of the Bankruptcy Code
to: (a) administer the terms of the Plan (other than as the Plan relates to Personal Injury Claims), including making
payments in accordance with Articles II and III to all Holders of Claims and interests other than Personal Injury
Claims; (b) make distributions pursuant to the Liquidation Trust Agreement; (c) assert any Cause of Action on behalf
of the Debtor that constitutes a Liquidation Trust Asset; and (d) take such other action as may be authorized by the
Liquidation Trust Agreement, including objecting to any and all Claims other than Professional Fee Claims.

           Upon the transfer of the Liquidation Trust Assets, as more fully set forth in the Liquidation Trust Agreement,
the Debtor will have no reversionary or further interest in or with respect to the Liquidation Trust Assets. For U.S.
federal income tax purposes, the beneficiaries of the Liquidation Trust will be treated as grantors and owners thereof
and it is intended that the Liquidation Trust be classified as a liquidating trust under Section 301.7701-4 of the Treasury
Regulations. Accordingly, for U.S. federal income tax purposes, it is intended that the beneficiaries of the Liquidation
Trust be treated as if they had received an interest in the Liquidation Trust Assets and then contributed such interests
to the Liquidation Trust.

          On the Effective Date, the authority, power, and incumbency of the persons acting as managers, directors,
and officers of the Debtor shall be deemed to have resigned and the Liquidation Trustee shall be appointed as the sole
manager, director, and officer of the Post-Effective Date Debtor and shall succeed to the powers of the Debtor’s
managers, directors, and officers. From and after the Effective Date, the Liquidation Trustee shall be the sole
representative of, and shall act for, the Post-Effective Date Debtor. The Post-Effective Date Debtor or the Liquidation
Trustee, as applicable, shall be deemed to be substituted in lieu of the Debtor as the proper party in interest in all
matters, including (a) motions, contested matters, and adversary proceedings pending in the Bankruptcy Court, and
(b) all matters pending in any courts, tribunals, forums, or administrative proceedings outside of the Bankruptcy Court,
in each case without the need or requirement for the Post-Effective Date Debtor or the Liquidation Trustee to file
motions or substitutions of parties or counsel in any such matter.

         2.       Personal Injury Trust

          On the Effective Date, the Personal Injury Trust shall be formed to receive and liquidate the Personal Injury
Trust Assets for the benefit of Holders of Allowed Personal Injury Claims. The Personal Injury Trust shall: (a) make
distributions to Holders of Allowed Personal Injury Claims in accordance with this Plan and the Personal Injury Trust
Agreement; (b) assert any Cause of Action constituting a Personal Injury Trust Asset on behalf of the Post-Effective
Date Debtor including, without limitation, seeking full recovery of any and all available insurance proceeds from any
insurers; and (c) take such further action as may be authorized by the Personal Injury Trust Agreement, including
objecting to Personal Injury Claims. The proceeds of the recoveries on any of the Personal Injury Trust Assets shall
be deposited in and become the property of the Personal Injury Trust.

          Upon the transfer of the Personal Injury Trust Assets, the Debtor will have no reversionary or further interest
in or with respect to the Personal Injury Trust Assets. For all U.S. federal income tax purposes, the beneficiaries of
the Personal Injury Trust will be treated as grantors and owners thereof and it is intended that the Personal Injury Trust
be classified as a liquidating trust under Section 301.7701-4 of the Treasury Regulations. Accordingly, for U.S. federal
income tax purposes, it is intended that the beneficiaries of the Personal Injury Trust be treated as if they had received
an interest in the Personal Injury Trust Assets and then contributed such interests to the Personal Injury Trust.

F.       Corporate Action

        On or before the Effective Date, as applicable, all actions contemplated under the Plan or in any of the
documents contained the Plan Supplement (including any action to be undertaken by the Post-Effective Date Debtor
or Personal Injury Trustee, as applicable) shall be deemed authorized and approved, and, to the extent taken by the


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Debtor prior to the Effective Date, ratified, confirmed and approved without any requirement for further action by
Holders of Claims or Interests, the Debtor, or any other Entity in all respects. All matters provided for in the Plan
involving the corporate structure of the Debtor or the Post-Effective Date Debtor, as applicable, and any corporate
action required by the Debtor or the Post-Effective Date Debtor in connection with the Plan shall be deemed to have
occurred and shall be in effect, without any requirement of further action by the security holders, directors, managers,
or officers of the Debtor or the Post-Effective Date Debtor, as applicable.

          Upon the Effective Date or as soon as reasonably practicable thereafter, after making all distributions required
to be made under the Plan, the Debtor shall be deemed to have been dissolved and terminated and the Liquidation
Trustee shall be responsible for effectuating such dissolution. On or (as applicable) prior to the Effective Date, the
appropriate officers of the Debtor or the Post-Effective Date Debtor or the Liquidation Trustee, as applicable, shall be
authorized to issue, execute, and deliver the agreements, documents, securities, and instruments contemplated under
the Plan (or necessary or desirable to effect the transactions contemplated under the Plan) in the name of and on behalf
of the Debtor or Post-Effective Date Debtor. The authorizations and approvals contemplated by this Article IV.F. shall
be effective notwithstanding any requirements under non-bankruptcy law.

G.       Vesting of Assets

         Except as otherwise provided in the Plan or the Plan Supplement, or in any agreement, instrument, or other
document incorporated in the Plan, on the Effective Date, all property of the Debtor’s Estate, all Causes of Action,
any property acquired by the Debtor under the Plan, and any proceeds of any of the foregoing, other than the Personal
Injury Trust Assets, shall automatically vest in the Liquidation Trust free and clear of all Liens, Claims, interests,
charges, or other encumbrances. On and after the Effective Date, except as otherwise provided in the Plan, the
Liquidation Trustee may use, acquire, or dispose of property and compromise or settle any Claims, Interests, or Causes
of Action without supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy
Code or Bankruptcy Rules, except as otherwise provided in the Liquidation Trust Agreement.

         Except as otherwise provided in the Plan or the Plan Supplement, or in any agreement, instrument, or other
document incorporated in the Plan, on the Effective Date, all Personal Injury Trust Assets and any proceeds thereof
shall automatically vest in the Personal Injury Trust free and clear of all Liens, Claims, interests, charges, or other
encumbrances. On and after the Effective Date, except as otherwise provided in the Plan, the Personal Injury Trustee
may use, acquire, or dispose of Personal Injury Trust Assets and compromise or settle any Personal Injury Claims or
Causes of Action constituting Personal Injury Trust Assets without supervision or approval by the Bankruptcy Court
and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules, except as otherwise provided in the Personal
Injury Trust Agreement.

H.       Effectuating Documents; Further Transactions

         On and after the Effective Date, the Liquidation Trustee is authorized to and may issue, execute, deliver, file,
or record such contracts, instruments, releases, and other agreements or documents and take such actions as may be
necessary or appropriate to effectuate, implement, and further evidence the terms and conditions of the Plan and the
documents contained in the Plan Supplement, in the name of and on behalf of the Debtor, without the need for any
approvals, authorizations, or consents except for those expressly required under the Plan.

I.       Exemptions from Certain Taxes and Fees

         To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, no transfers of property under the
Plan shall be subject in any way to any document recording tax, stamp tax, conveyance fee, intangibles or similar tax,
mortgage tax, real estate transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording fee, or
other similar tax or governmental assessment, including but not limited to (1) the issuance, distribution, transfer, or
exchange of any debt, equity security, or other interest in either Trust; or (2) the making, delivery, or recording of any
deed or other instrument of transfer under, in furtherance of, or in connection with, the Plan, including any deeds, bills
of sale, assignments, or other instruments of transfer executed in connection with any transaction arising out of,
contemplated by, or in any way related to the Plan. Each appropriate state or local government officials or agents shall
forego collection of any such tax or governmental assessment and accept for filing and recordation any of the foregoing
instruments or other documents without the payment of any such tax or governmental assessment.

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          All filing or recording officers (or any other Person with authority over any of the foregoing), wherever
located and by whomever appointed, shall comply with the requirements of section 1146(c) of the Bankruptcy Code,
shall forego the collection of any such tax or governmental assessment, and shall accept for filing and recordation any
of the foregoing instruments or other documents without the payment of any such tax or governmental assessment.

J.       Preservation of Causes of Action

          Except as otherwise provided in this Plan, an agreement or document entered into in connection with the
Plan, or in a Final Order of the Bankruptcy Court, pursuant to section 1123(b) of the Bankruptcy Code and as set forth
more fully in the Disclosure Statement, the Debtor reserves and, as of the Effective Date, assigns to the applicable
Trust the Causes of Action identified in the Plan Supplement as Retained Causes of Action. On and after the Effective
Date, the Liquidation Trustee and Personal Injury Trustee, as appropriate may pursue Retained Causes of Action on
behalf of and for the benefit of the applicable Trust beneficiaries.

         No Entity may rely on the absence of a specific reference in the Plan, the Plan Supplement, or the Disclosure
Statement to any Cause of Action against it as any indication that the Liquidation Trustee or the Personal Injury
Trustee, as appropriate, will not pursue any and all available Causes of Action against it. Unless any Cause of Action
against an Entity is expressly waived, relinquished, exculpated, released, compromised, or settled in the Plan or a Final
Order of the Bankruptcy Court, the Liquidation Trustee and Personal Injury Trustee expressly reserve all Causes of
Action for later adjudication, and, therefore no preclusion doctrine, including the doctrines of res judicata, collateral
estoppel, issue preclusion, claim preclusion (judicial, equitable, or otherwise), or laches, shall apply to such Causes of
Action upon, after, or as a consequence of Plan confirmation or Consummation.

         The Debtor, the Liquidation Trustee, or the Personal Injury Trustee, as applicable, reserves such Causes of
Action notwithstanding the rejection of any Executory Contract or Unexpired Lease during the Chapter 11 Case or
pursuant to the Plan. The Liquidation Trustee and Personal Injury Trustee, as applicable, shall retain and shall have,
including through their authorized agents or representatives, the exclusive right, authority, and discretion to determine
and to initiate, file, prosecute, enforce, abandon, settle, compromise, release, withdraw, or litigate to judgment any
such Causes of Action and to decline to do any of the foregoing without the consent or approval of any third party or
further notice to or action, order, or approval of the Bankruptcy Court.

K.       Dissolution of Committee and Cessation of Fee and Expense Payments

          On the Effective Date, the Committee will dissolve, and the members of the Committee and the Committee’s
Professionals will cease to have any role arising from or relating to the Chapter 11 Case; provided that the Committee
shall have post-Effective Date standing to object to Administrative Expense Claims and Professional Fee Claims and
shall be entitled to file a Professional Fee Claim for services related thereto and otherwise provided before the
Effective Date, subject to rights of any party in interest to object thereto. Nothing in the Plan shall prohibit or limit
the ability of the Debtor’s or Committee’s Professionals to represent either the Liquidation Trustee or Personal Injury
Trustee or to be compensated or reimbursed per the Plan and the Liquidation Trust Agreement or Personal Injury Trust
Agreement in connection with such representation.

                                      ARTICLE V.
                 TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.       Assumption or Rejection of Executory Contracts and Unexpired Leases

          On the Effective Date, except as otherwise provided in the Plan, all Executory Contracts and Unexpired
Leases shall be deemed rejected as of the Effective Date pursuant to section 365 of the Bankruptcy Code, without the
need for any further notice to or action, order, or approval of the Bankruptcy Court, unless an Executory Contract or
Unexpired Lease: (1) was previously assumed or rejected by the Debtor; (2) previously expired or terminated pursuant
to its own terms; (3) is the subject of a pending motion to assume filed on or before the Effective Date; or (4) is
identified on the Assumed Executory Contract and Unexpired Lease List.




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         Entry of the Confirmation Order shall constitute a Bankruptcy Court order pursuant to sections 365 and
1123(b) of the Bankruptcy Code approving the assumptions, assumptions and assignments, or rejections described
above as of the Effective Date.

          Contracts or leases that were not allocated to YesCare Corp. or its wholly owned subsidiaries (including CHS
TX, Inc.) under the Plan of Divisional Merger but under which YesCare Corp. is or was operating after May 5, 2022,
are not Executory Contracts or Unexpired Leases. To the extent that such contracts are determined to be Executory
Contracts or Unexpired Leases by a Final Order of the Bankruptcy Court, Proofs of Claim with respect to Claims
arising from such contracts or leases must be filed with the Claims Agent and served on the Post-Effective Date Debtor
no later than thirty (30) days of the later of the Effective Date or entry of such Final Order.

B.       Claims Based on Rejection of Executory Contracts or Unexpired Leases

         Unless otherwise provided by a Final Order of the Bankruptcy Court, all Claims arising from the rejection of
Executory Contracts or Unexpired Leases, pursuant to the Plan or the Confirmation Order, if any, must be the subject
of a Proof of Claim Filed with the Claims Agent and served on the Post-Effective Date Debtor no later than thirty (30)
days after the later of (i) the Effective Date or (ii) the date of entry of a Bankruptcy Court order approving such
rejection. Such Proof of Claim may be objected to in accordance with the provisions of Article VIII and the applicable
provisions of the Bankruptcy Code and Bankruptcy Rules.

         Any Claim arising from the rejection of an Executory Contract or Unexpired Lease that is not the subject of
a timely Filed Proof of Claim shall be Disallowed for all purposes in this Chapter 11 Case, discharged, and forever
barred.

C.       Cure of Defaults and Objections to Cure and Assumption

         Any monetary defaults under each Executory Contract and Unexpired Lease to be assumed pursuant to the
Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the default amount in
Cash on the Effective Date, subject to the limitation described below, or on such other terms as the parties to such
Executory Contracts or Unexpired Leases may otherwise agree.

         The Debtor shall provide notices of proposed cure amounts to counterparties to Executory Contracts and
Unexpired Leases as part of the Plan Supplement. Any objection by a counterparty to an Executory Contract or
Unexpired Lease to a proposed assumption or related cure amount must be Filed, served, and actually received by
counsel to the Debtor and the Committee no later than the Confirmation Objection Deadline. Any counterparty to an
Executory Contract or Unexpired Lease that fails to object timely to the proposed assumption or cure amount will be
deemed to have assented to such assumption or cure amount.

         Assumption, or assumption and assignment, of any Executory Contract or Unexpired Lease pursuant to the
Plan or otherwise shall result in the full release and satisfaction of any defaults, whether monetary or nonmonetary,
including defaults of provisions restricting the change in control or ownership interest composition or other
bankruptcy-related defaults, arising under any assumed Executory Contract or Unexpired Lease at any time prior to
the effective date of assumption. Any Proof of Claim filed with respect to an Executory Contract or Unexpired
Lease that has been assumed shall be deemed Disallowed for all purposes in this Chapter 11 Case, discharged,
forever barred, and expunged without further notice to or action, order, or approval of the Bankruptcy Court.

D.       Insurance Policies

          Notwithstanding anything to the contrary herein, each of the insurance policies and any agreements,
documents, or instruments relating thereto issued to or entered into by the Debtor prior to the Petition Date shall not
be considered Executory Contracts and shall neither be assumed nor rejected by the Debtor; provided, however, that
to the extent any such insurance policy is determined by Final Order to be an Executory Contract, then,
notwithstanding anything contained in the Plan to the contrary, the Plan will constitute a motion to assume such
insurance policy and assign the same to the Personal Injury Trust if a Personal Injury Trust Asset, or to the Liquidation
Trust if a Liquidation Trust Asset. Subject to the occurrence of the Effective Date, the entry of the Confirmation Order


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will constitute approval of such assumption and assignment pursuant to section 365 of the Bankruptcy Code. Unless
otherwise determined by the Bankruptcy Court pursuant to a Final Order or agreed by the parties thereto prior to the
Effective Date, no payments are required to cure any defaults of the Debtor existing as of the Confirmation Date with
respect to any insurance policy, and prior payments for premiums or other charges made prior to the Petition Date
under or with respect to any insurance policy shall be indefeasible. Nothing in the Plan, the Plan Supplement, the
Confirmation Order, or any other order of the Bankruptcy Court, (1) alters, modifies, or otherwise amends the terms
and conditions of (or the coverage provided by) any of such insurance policies or (2) alters or modifies the duty, if
any, that the insurers or third-party administrators pay claims covered by such insurance policies.

E.       Modifications, Amendments, Supplements, Restatements, or Other Agreements

          Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that is assumed shall
include all modifications, amendments, supplements, restatements, or other agreements that in any manner affect such
Executory Contract or Unexpired Lease, and Executory Contracts and Unexpired Leases related thereto, if any,
including easements, licenses, permits, rights, privileges, immunities, options, rights of first refusal, and any other
interests, unless any of the foregoing agreements has been previously rejected or repudiated or is rejected or repudiated
under the Plan.

          Except as otherwise provided in a Final Order, modifications, amendments, supplements, and restatements
to prepetition Executory Contracts and Unexpired Leases that have been executed by the Debtor during the Chapter 11
Case shall not be deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease, or the validity,
priority, or amount of any Claims that may arise in connection therewith.

F.       Reservation of Rights

          Neither the exclusion nor inclusion of any contract or lease on Schedule G of the Debtor’s Schedules, nor
anything contained in the Plan or the Plan Supplement shall constitute an admission by the Debtor or any other party
that any such contract or lease is in fact an Executory Contract or Unexpired Lease or that any Post-Effective Date
Debtor has any liability thereunder. If there is a dispute regarding whether a contract or lease is or was executory or
unexpired at the time of assumption or rejection, the Debtor, the Liquidation Trustee, as applicable, shall have thirty
(30) calendar days following entry of a Final Order resolving such dispute to alter the treatment of such contract or
lease to assume or reject it, including by rejecting such contract or lease effective as of the Confirmation Date.

                                             ARTICLE VI.
                                 PROVISIONS GOVERNING DISTRIBUTIONS

A.       Rights and Powers of the Debtor, Post-Effective Date Debtor, the Liquidation Trustee, and the Personal
         Injury Trustee

         On and after the Effective Date, the Personal Injury Trustee and its designees or representatives shall have
the right to object to, Allow, or otherwise resolve any Personal Injury Claim, subject to the terms hereof and the
Personal Injury Trust Agreement. On and after the Effective Date, the Liquidation Trustee and its designees or
representatives shall have the right to object to, Allow, or otherwise resolve any Claim other than Personal Injury
Claims subject to the terms hereof and the Liquidation Trust Agreement.

         The Post-Effective Date Debtor, the Liquidation Trustee, and the Personal Injury Trustee, as applicable, shall
not be required to give any bond or surety or other security for the performance of its duties unless otherwise ordered
by the Bankruptcy Court. Additionally, in the event that the Liquidation Trustee or the Personal Injury Trustee is so
ordered after the Effective Date, all costs and expenses of procuring any such bond or surety shall be paid for with
Cash from the Liquidation Trust Assets or the Personal Injury Trust Assets, as applicable.




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B.       Delivery of Distributions and Undeliverable or Unclaimed Distributions

         1.       Delivery of Distributions in General

         Except as otherwise provided in the Plan or the applicable Trust Agreement, distributions to Holders of
Allowed Claims shall be made to Holders of record as of the Effective Date by the Trustees or other third parties, as
applicable: (a) to the party designated to receive payment on any Proof of Claim or Proof of Interest; or (b) at the
addresses set forth in any written notices of address changes delivered to the applicable Trustee after the Effective
Date. Neither the Post-Effective Date Debtor nor either of the Trustees shall incur any liability whatsoever on account
of any distributions under the Plan except for fraud, gross negligence, or willful misconduct.

         2.       Minimum; De Minimis Distributions

        No Cash payment of less than $50.00 shall be made to a Holder of an Allowed Claim on account of such
Allowed Claim unless provided otherwise in one of the Trust Agreements, as applicable.

         3.       Undeliverable Distributions and Unclaimed Property

         In the event that any distribution to any Holder is returned as undeliverable, no distribution to such Holder
shall be made unless and until the Liquidation Trustee or the Personal Injury Trustee, as applicable, has determined
the then-current address of such Holder, at which time such distribution shall be made to such Holder without interest;
provided, however, that such distributions shall be deemed unclaimed property under section 347(b) of the Bankruptcy
Code at the expiration of 180 days from the later of (a) the Effective Date and (b) the date of the distribution. After
such date, all unclaimed property or interests in property shall revert (notwithstanding any applicable federal or state
escheat, abandoned, or unclaimed property laws to the contrary) to the Liquidation Trust or the Personal Injury Trust,
as applicable, automatically and without need for a further order by the Bankruptcy Court, for distribution in
accordance with the Plan and the Claim of any Holder to such property or interest in property shall be released, settled,
compromised, and forever barred.

         Neither the Liquidation Trustee nor Personal Injury Trustee nor their respective agents and attorneys are
under a duty to take any action to either (a) attempt to locate any Holder, or (b) obtain an executed Internal Revenue
Service Form W-9 from any Holder; provided that in their sole discretion, the Liquidation Trustee or Personal Injury
Trustee, as applicable may periodically publish notice of unclaimed distributions.

         If, at the time either of the Trusts terminates there remains unclaimed property in such Trust, such property
shall be donated by the applicable Trustee to the Anthony H.N. Schnelling Endowment Fund maintained by the
American Bankruptcy Institute, to assist in the provision of resources for research and education.

C.       Manner of Payment

          At the option of the applicable Trustee, any Cash payment to be made under the Plan may be made by check
or wire transfer or as otherwise required or provided in applicable agreements.

D.       Compliance Matters

         In connection with the Plan and all distributions hereunder, to the extent applicable, the Trustees are
authorized to take any and all actions that may be necessary or appropriate to comply with all tax withholding and
reporting requirements imposed on them by any Governmental Unit, and all distributions pursuant to the Plan or
pursuant to the Liquidation Trust Agreement and the Personal Injury Trust Agreement shall be subject to such
withholding and reporting requirements. Notwithstanding any provision in the Plan to the contrary, the Trustees shall
be authorized to take all actions necessary or appropriate to comply with such withholding and reporting requirements,
including liquidating a portion of a distribution to be made under the Plan to generate sufficient funds to pay applicable
withholding taxes, withholding distributions pending receipt of information necessary to facilitate such distributions,
or establishing any other mechanisms they believe are reasonable and appropriate. The Trustees reserve the right to
allocate all distributions made under the Plan in compliance with all applicable wage garnishments, alimony, child


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support, and other spousal awards, liens and encumbrances. All Persons holding Claims shall be required to provide
any information necessary to effect information reporting and the withholding of such taxes. Notwithstanding any
other provision of the Plan to the contrary, each Holder of an Allowed Claim shall have the sole and exclusive
responsibility for the satisfaction and payment of any tax obligations imposed by any Governmental Unit, including
income, withholding, and other tax obligations, on account of such distribution.

E.       Allocation Between Principal and Accrued Interest

          Except as otherwise provided in the Plan, the aggregate consideration paid to Holders with respect to their
Allowed Claims shall be treated pursuant to the Plan as allocated first to the principal amount of such Allowed Claims
(to the extent thereof) and, thereafter, to the interest, if any, on such Allowed Claim accrued through the Petition Date.

F.       Setoffs and Recoupment

         Unless otherwise provided in the Plan or the Confirmation Order, the Post-Effective Date Debtor and the
Trustees may, pursuant to the Bankruptcy Code, applicable non-bankruptcy law, or as may be agreed to by the Holder
of a Claim, set off against or recoup any Allowed Claim and the distributions to be made pursuant to the Plan on
account of such Allowed Claim, any claims, rights, and Causes of Action of any nature that such Post-Effective Date
Debtor or Trustee, as applicable, may hold against the Holder of such Allowed Claim. In no event shall any Claim
Holder be entitled to set off or recoup any such Claim against any claim, right, or Cause of Action of the Post-Effective
Date Debtor or either Trustee (as applicable), unless such Holder has filed a motion with the Bankruptcy Court
requesting the authority to implement such setoff or recoupment on or before the Confirmation Date, and
notwithstanding any indication in any Proof of Claim or otherwise that such Holder asserts, has, or intends to preserve
any right of setoff or recoupment pursuant to section 553 of the Bankruptcy Code or otherwise.

G.       Claims Paid or Payable by Third Parties

         1.       Claims Payable by Insurance

          No distributions under the Plan shall be made on account of an Allowed Claim that is payable pursuant to
one of the Debtor’s insurance policies, surety agreements, other non-Debtor payment agreements, or collateral held
by a third party until the Holder of such Allowed Claim has exhausted all remedies with respect to such insurance
policy, surety agreement, other non-Debtor payment agreement, or collateral, as applicable. To the extent that one or
more of the Debtor’s insurers, sureties, or non-Debtor payors pays or satisfies a Claim in full or in part, or such
collateral or proceeds from such collateral is used to satisfy such Claim, then immediately upon such payment, the
applicable portion of such Claim shall be expunged and Disallowed without the need for a Claim objection to be Filed
and without any further notice to or action, order, or approval of the Bankruptcy Court.

         2.       Applicability of Insurance Policies

         Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims shall be in accordance
with the provisions of an applicable insurance policy. Nothing contained in the Plan shall constitute or be deemed a
waiver of any Cause of Action that the Debtor or any Entity may hold against any other Entity, including insurers
under any policies of insurance, nor shall anything contained in the Plan constitute or be deemed a waiver by such
insurers of any defenses, including coverage defenses, held by such insurers.

         3.       Claims Paid by Third Parties

          Each Trustee, as applicable, shall be authorized to reduce in full a Claim, and such Claim shall be Disallowed
without a Claims objection having to be Filed and without any further notice to or action, order, or approval of the
Bankruptcy Court, to the extent that the Holder of such Claim receives payment in full on account of such Claim from
a party that is not a Debtor, including on account of recourse to collateral held by third parties that secure such Claim.
To the extent a Claim Holder receives a distribution on account of such Claim and also receives payment from a party
that is not a Debtor on account of such Claim, such Holder shall, within fourteen (14) days of receipt thereof, repay
or return the distribution to the applicable Trustee to the extent the Holder’s total recovery on account of such Claim


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from the third party and under the Plan exceeds the amount of such Claim as of the date of any such distribution under
the Plan.

                                        ARTICLE VII.
                      RESERVES ADMINISTERED BY THE LIQUIDATION TRUSTEE

A.       Establishment of Reserve Accounts

         The Liquidation Trustee shall establish each of the Distribution Reserve Accounts, which, notwithstanding
anything to the contrary contained in this Plan, may be effectuated by either establishing a segregated account or
establishing book entry accounts, in the sole discretion of the Liquidation Trustee.

B.       Administrative and Priority Claims Reserve

          On the Effective Date, the Liquidation Trustee shall establish the Administrative and Priority Claims Reserve.
The Administrative and Priority Claims Reserve shall be used to pay Allowed Administrative and Priority Claims. If
all or any portion of an Administrative or Priority Claim shall become a Disallowed Claim, then the amount on deposit
in the Administrative and Priority Claims Reserve attributable to such surplus or such Disallowed Claim, including
the interest that has accrued on said amount while on deposit in such Reserve, shall remain in the Administrative and
Priority Claims Reserve to the extent that the Liquidation Trustee determines necessary to ensure that the Cash
remaining in the Administrative and Priority Claims Reserve is sufficient to ensure that all Allowed Administrative
and Priority Claims will be paid in accordance with the Plan.

C.       Other Secured Claims Reserve

          On the Effective Date if appropriate, the Liquidation Trustee shall establish the Other Secured Claims
Reserve by depositing Cash proceeds from the sale of assets securing the Other Secured Claims, if any. The Other
Secured Claims Reserve shall be used to pay Allowed Other Secured Claims to the extent not satisfied by the return
of the assets securing the Allowed Other Secured Claim. If all or any portion of an Other Secured Claim shall become
a Disallowed Claim, then the amount on deposit in the Other Secured Claims Reserve attributable to such surplus or
such Disallowed Claim, including the interest that has accrued on said amount while on deposit in the Other Secured
Claims Reserve, shall remain in the Other Secured Claims Reserve or be transferred out of the Other Secured Claims
Reserve to the extent that the Liquidation Trustee determines necessary to ensure that the Cash remaining in the Other
Secured Claims Reserve is sufficient to ensure that all Allowed Other Secured Claims will be paid in accordance with
the Plan.

        The Debtor shall not have any reversionary or other interest in or with respect to any of the Distribution
Reserve Accounts.

                                            ARTICLE VIII.
                              PROCEDURES FOR RESOLVING CONTINGENT,
                          UNLIQUIDATED, AND DISPUTED CLAIMS AND INTERESTS

A.       Applicability.

         All Disputed Claims against the Debtor, other than Administrative Expense Claims, shall be subject to the
provisions of this Article VIII. All Administrative Expense Claims shall be determined and, if Allowed, paid in
accordance with Article II. None of the terms or provision of this Article VIII shall apply to Personal Injury Claims,
which shall be exclusively processed, liquidated, and paid by the Personal Injury Trustee in accordance with the
Personal Injury Trust Agreement.

B.       Allowance of Claims and Interests

        After the Effective Date, the applicable Trustee shall have and retain any and all rights and defenses the
Debtor had with respect to any Claim or Interest immediately prior to the Effective Date, except with respect to any


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Claim Allowed pursuant to the Plan or Final Order of the Bankruptcy Court entered before the Effective Date. Except
as expressly provided in the Plan or in any Final Order of the Bankruptcy Court entered prior to the Effective Date
(including the Confirmation Order and the DIP Order), no Claim shall become an Allowed Claim unless and until
such Claim is deemed Allowed under the Plan, the Bankruptcy Code, or the Bankruptcy Court has entered a Final
Order (including the Confirmation Order) in the Chapter 11 Case allowing such Claim. All settled Claims approved
prior to the Effective Date pursuant to a Final Order of the Court pursuant to Bankruptcy Rule 9019 or otherwise, if
any, shall be binding on all parties.

C.       Claims Administration Responsibilities.

          Except as otherwise specifically provided in the Plan, after the Effective Date the Liquidation Trustee shall
have the sole authority to: (1) file, withdraw, or litigate to judgment objections to Claims or Interests, except for
Professional Fee Claims; (2) settle or compromise any Disputed Claim or Interest without any further notice to or
action, order, or approval by the Bankruptcy Court; and (3) administer and direct the Claims Agent to adjust the Claims
Register to reflect any such settlements or compromises without any further notice to or action, order, or approval by
the Bankruptcy Court. For the avoidance of doubt, except as otherwise provided in the Plan, from and after the
Effective Date, the Liquidation Trustee shall have and retain any and all rights and defenses the Debtor had
immediately prior to the Effective Date with respect to any Disputed Claim or Interest, including the Causes of Action
retained pursuant to Article IV.J.

D.       Estimation of Claims and Interests

          Before or after the Effective Date, the Debtor or the Liquidation Trustee, as applicable, may at any time
request that the Bankruptcy Court estimate any Disputed Claim or Interest that is contingent or unliquidated pursuant
to section 502(c) of the Bankruptcy Code for any reason, regardless of whether any party previously has objected to
such Claim or Interest or whether the Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court
shall retain jurisdiction to estimate any such Claim or Interest, including during the litigation of any objection to any
Claim or Interest or during the appeal relating to such objection. Notwithstanding any provision otherwise in the Plan,
a Claim that has been expunged from the Claims Register, but that either is subject to appeal or has not been the
subject of a Final Order, shall be deemed to be estimated at zero dollars, unless otherwise ordered by the Bankruptcy
Court. In the event that the Bankruptcy Court estimates any contingent or unliquidated Claim or Interest, that
estimated amount shall constitute a maximum limitation on such Claim or Interest for all purposes under the Plan
(including for purposes of distributions), and the Liquidation Trustee may elect to pursue any supplemental
proceedings to object to any ultimate distribution on such Claim or Interest.

E.       Adjustment to Claims Without Objection

          Any duplicate Claim or Interest or any Claim or Interest that has been paid, satisfied, amended, or superseded
may be adjusted or expunged on the Claims Register by the Liquidation Trustee without the Liquidation Trustee having
to file an application, motion, complaint, objection, or any other legal proceeding seeking to object to such Claim or
Interest and without any further notice to or action, order, or approval of the Bankruptcy Court.

F.       No Distributions Pending Allowance

          Notwithstanding any other provision hereof, if any portion of a Claim or Interest is a Disputed Claim or
Interest, as applicable, no payment or distribution provided hereunder shall be made on account of such Claim or
Interest unless and until such Disputed Claim or Interest becomes Allowed.

G.       Disallowance of Claims

         Any Claims held by Entities from which property is recoverable under section 542, 543, 550, or 553 of the
Bankruptcy Code or that is a transferee of a transfer avoidable under section 522(f), 522(h), 544, 545, 547, 548, 549,
or 724(a) of the Bankruptcy Code shall be deemed Disallowed pursuant to section 502(d) of the Bankruptcy Code,
and Holders of such Claims may not receive any distributions on account of such Claims until such time as such
Causes of Action against that Entity have been settled or a Bankruptcy Court order with respect thereto has been


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entered and all sums due, if any, to the Debtor by that Entity have been turned over or paid to the Debtor or the
Liquidation Trustee.

      EXCEPT AS PROVIDED HEREIN OR IN AN ORDER OF THE BANKRUPTCY COURT, ANY AND
ALL PROOFS OF CLAIM FILED AFTER THE APPLICABLE BAR DATE SHALL BE AUTOMATICALLY
DEEMED DISALLOWED AND EXPUNGED AS OF THE EFFECTIVE DATE WITHOUT ANY FURTHER
NOTICE TO OR ACTION, ORDER, OR APPROVAL BY, FROM OR OF THE BANKRUPTCY COURT,
THE DEBTOR, THE PERSONAL INJURY TRUSTEE, OR THE LIQUIDATION TRUSTEE. HOLDERS OF
SUCH CLAIMS SHALL NOT RECEIVE ANY DISTRIBUTIONS ON ACCOUNT OF SUCH CLAIMS.

H.       Claim Amendment Deadline

      ANY AMENDMENTS TO ANY CLAIM TIMELY FILED BY THE BAR DATE MUST BE MADE
WITHIN THIRTY (30) DAYS FOLLOWING THE EFFECTIVE DATE. ANY AMENDMENTS FILED
MORE THAN THIRTY (30) DAYS AFTER THE EFFECTIVE DATE SHALL BE DEEMED
INEFFECTIVE WITHOUT ANY FURTHER NOTICE TO OR ACTION, ORDER, OR APPROVAL OF
THE COURT, AND HOLDERS OF SUCH CLAIMS MAY NOT RECEIVE ANY DISTRIBUTIONS ON
ACCOUNT OF SUCH AMENDED CLAIMS.

I.       Distributions After Allowance

          To the extent that a Disputed Claim or Interest ultimately becomes an Allowed Claim or Interest, distributions
(if any) shall be made to the Holder of such Allowed Claim or Interest in accordance with the provisions of the Plan.
As soon as reasonably practicable after the date that the order or judgment of the Bankruptcy Court allowing any
Disputed Claim or Interest becomes a Final Order, the Liquidation Trustee shall provide to the Holder of such Claim
or Interest the distribution (if any) to which such Holder is entitled under the Plan as of the Effective Date, without
any interest to be paid on account of such Claim or Interest.

J.       No Interest

         Unless otherwise specifically provided for by the Plan or the Confirmation Order, or unless otherwise
required by applicable bankruptcy law, no postpetition interest shall accrue or be paid on any Claim or Interest and no
Holder of any Claim or Interest shall be entitled to interest accruing on or after the Petition Date.

                                        ARTICLE IX.
                 SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.       Compromise and Settlement of Claims, Interests, and Controversies

          Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019 and in consideration for the
distributions and other benefits provided pursuant to the Plan, the provisions of the Plan shall constitute a good-faith
compromise and settlement of all Claims, Interests, and controversies relating to the contractual, legal, and
subordination rights that a Holder of a Claim or Interest may have with respect to any Allowed Claim or Interest, or
any distribution to be made on account of such Allowed Claim or Interest. The entry of the Confirmation Order shall
constitute the Bankruptcy Court’s approval of the compromise or settlement of all such Claims, Interests, and
controversies, as well as a finding by the Bankruptcy Court that such compromise or settlement is in the best interests
of the Debtor, its Estate, and Holders of Claims and Interests and is fair, equitable, and reasonable.

B.       Release of Liens

         Except as otherwise provided in the Plan, the Plan Supplement, or any contract, instrument, release,
or other agreement or document created pursuant to the Plan, on the Effective Date, all mortgages, deeds of
trust, Liens, pledges, or other security interests against any property of the Estate shall be fully released, settled,
compromised, and satisfied, and all of the right, title, and interest of any holder of such mortgages, deeds of
trust, Liens, pledges, or other security interests shall revert automatically to the Debtor and its successors and


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assigns. Any Holder of such Secured Claim (and the applicable agents for such Holder) shall be authorized
and directed to release any collateral or other property of the Debtor (including any cash collateral and
possessory collateral) held by such Holder (and the applicable agents for such Holder) and to take such actions
as may be reasonably requested by the Debtor or the Liquidation Trustee to evidence the release of such Lien,
including the execution, delivery, and filing or recording of such releases. The presentation or filing of the
Confirmation Order to or with any federal, state, provincial, or local agency or department shall constitute
good and sufficient evidence of, but shall not be required to effect, the termination of such Liens.

C.       Release by the Debtor, its Estate, and the Post-Effective Date Debtor

         Pursuant to section 1123(b) of the Bankruptcy Code, upon payment in full of the Settlement Payment
as provided in Article IV.B.1, and in exchange for other good and valuable consideration, the adequacy of
which is hereby confirmed, the Debtor, its Estate, and the Post-Effective Date Debtor shall be deemed to have
expressly, conclusively, absolutely, unconditionally, irrevocably, and forever released and discharged each and
all of the Released Parties from any and all claims, causes of action, interests, damages, remedies, demands,
rights, actions (including Avoidance Actions), suits, debts, sums of money, obligations, judgments, liabilities,
accounts, defenses, offsets, counterclaims, crossclaims, powers, privileges, licenses, liens, indemnities,
guaranties, and franchises of any kind or character whatsoever, whether known or unknown, foreseen or
unforeseen, now existing or hereafter arising, contingent or non-contingent, liquidated or unliquidated, choate
or inchoate, secured or unsecured, assertable, directly or derivatively, matured or unmatured, suspected or
unsuspected, in contract, tort, law, equity, or otherwise that the Debtor, the Post-Effective Date Debtor, or the
Estate has, have or may have against the Released Parties.

         Notwithstanding anything contained herein to the contrary, the foregoing release does not release any
obligations of any Released Party under the Plan or any document, instrument, or agreement executed to
implement the Plan.

D.       Third-Party Releases

          Except as otherwise expressly set forth in the Plan or the Confirmation Order, upon payment in full
of the Settlement Payment as provided in Article IV.B.1, and in exchange for other good and valuable
consideration, the adequacy of which is hereby confirmed, each of the Releasing Parties shall be deemed to
have expressly, conclusively, absolutely, unconditionally, irrevocably, and forever released and discharged each
and all of the Debtor, Post-Effective Date Debtor, and each Released Party, to the fullest extent permissible
under applicable law, from any and all any and all claims, causes of action, interests, damages, remedies,
demands, rights, actions (including Avoidance Actions), suits, debts, sums of money, obligations, judgments,
liabilities, accounts, defenses, offsets, counterclaims, crossclaims, powers, privileges, licenses, liens, indemnities,
guaranties, and franchises of any kind or character whatsoever, whether known or unknown, foreseen or
unforeseen, now existing or hereafter arising, contingent or non-contingent, liquidated or unliquidated, choate
or inchoate, secured or unsecured, assertable, directly or derivatively (including any Causes of Action asserted
or assertable on behalf of the Debtor, the Post-Effective Date Debtor, or the Estate, as applicable), matured or
unmatured, suspected or unsuspected, in contract, tort, law, equity, or otherwise, arising from, relating to, or
connected with the Debtor (or any predecessor entity) or the Chapter 11 Case or affecting property of the
Debtor’s Estate, the Plan or the administration and implementation of the Plan, or based upon any other related
act or omission, transaction, agreement, event, or other occurrence taking place on or before the Effective Date.
         Upon the payment in full of the Settlement Payment as provided in Article IV.B.1, each of the Released
Parties shall be deemed to have expressly, conclusively, absolutely, unconditionally, irrevocably, and forever
released and discharged each Consenting Creditor to the fullest extent permissible under applicable law, from
any and all any and all claims, causes of action, interests, damages, remedies, demands, rights, actions
(including Avoidance Actions), suits, debts, sums of money, obligations, judgments, liabilities, accounts,
defenses, offsets, counterclaims, crossclaims, powers, privileges, licenses, liens, indemnities, guaranties, and
franchises of any kind or character whatsoever, whether known or unknown, foreseen or unforeseen, now
existing or hereafter arising, contingent or non-contingent, liquidated or unliquidated, choate or inchoate,
secured or unsecured, assertable, directly or derivatively, matured or unmatured, suspected or unsuspected, in
contract, tort, law, equity, or otherwise, arising from, relating to, or connected with, the Debtor (or any


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predecessor entity) or the Chapter 11 Case or affecting property of the Debtor’s Estate, the Plan or the
administration and implementation of the Plan, or based upon any other related act or omission, transaction,
agreement, event, or other occurrence taking place on or before the Effective Date.
         Notwithstanding anything contained herein to the contrary, the foregoing releases do not release
(i) any obligations of any party under the Plan or any document, instrument, or agreement executed to
implement the Plan, or (ii) the rights of Holders of Allowed Claims or Interests to receive distributions under
the Plan.

         Each of the Releasing Parties knowingly grants the Third-Party Releases notwithstanding that each
Releasing Party may hereafter discover facts in addition to, or different from, those which either such Releasing
Party now knows or believes to be true, and without regard to the subsequent discovery or existence of such
different or additional facts, and each Releasing Party expressly waives any and all rights that such Releasing
Party may have under any statute or common law principle which would limit the effect of the Third-Party
Release to those claims actually known or suspected to exist as of the Effective Date. In connection with their
agreement to the foregoing Third-Party Releases, the Releasing Parties knowingly and voluntarily waive and
relinquish any and all provisions, rights, and benefits conferred by any law of the United States or any state or
territory of the United States, or principle of common law, which governs or limits a person’s release of
unknown claims, comparable or equivalent to California Civil Code § 1542, which provides: “A GENERAL
RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT
TO EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN
BY HIM OR HER MUST HAVE MATERIALLY AFFECTED HIS SETTLEMENT WITH THE DEBTOR.”

E.       Exculpation

         Upon the Effective Date, to the fullest extent permissible under applicable law, no Exculpated Party
shall have or incur, and each Exculpated Party is released and exculpated from, any liability to any Holder of
a Claim or Interest, or any other party in interest, for any claim or cause of action arising from the Petition
Date through the Effective Date, arising from, relating to, or connected with the administration of the Chapter
11 Case, the Disclosure Statement, the preparation of the Plan, the solicitation of acceptances of the Plan, the
pursuit of confirmation of the Plan, the Consummation of the Plan, or the administration of the Plan or
property to be distributed under the Plan, except for claims related to any act or omission that is determined
in a Final Order of a court of competent jurisdiction to have constituted actual fraud, willful misconduct, or
gross negligence. The Exculpated Parties shall be deemed to have, participated in good faith in connection with
the above and entitled to the protection of section 1125(e) of the Bankruptcy Code. Each Exculpated Party
shall be entitled to reasonably rely upon the advice of counsel with respect to their duties and responsibilities
pursuant to the Plan.

F.       Injunction and Gate Keeping

         Upon the Effective Date, to the fullest extent permissible under applicable law, all Enjoined Parties are
permanently enjoined, from and after the Effective Date, from taking any of the following actions against, as
applicable, the Debtor, the Post-Effective Date Debtor, the Exculpated Parties, or the Released Parties:
(1) commencing or continuing in any manner any action or other proceeding of any kind on account of or in
connection with or with respect to claims or interests that have been released, discharged, settled, or are subject
to exculpation under this Plan; (2) enforcing, attaching, collecting, or recovering by any manner or means any
judgment, award, decree, or order against such Entities on account of or in connection with or with respect to
any claims or interests that have been released, discharged, or are subject to exculpation under this Plan;
(3) creating, perfecting, or enforcing any encumbrance of any kind against such Entities or the property or the
estates of such Entities on account of or in connection with or with respect to any claims or interests that have
been released, discharged, or are subject to exculpation under this Plan; (4) interfering with the
Consummation, implementation, and execution of the Plan and all documents related to the Plan; and
(5) asserting any right of setoff, subrogation, or recoupment of any kind against any obligation due from such
Entities or against the property of such Entities on account of or in connection with or with respect to any
claims or interests that have been released, discharged, or are subject to exculpation under this Plan, unless
such Holder has filed a motion requesting the right to perform such setoff on or before the Effective Date, and


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notwithstanding an indication of a claim or interest or otherwise that such Holder asserts, has, or intends to
preserve any right of setoff pursuant to applicable law or otherwise.

          No Person or Entity may commence or pursue a claim or cause of action of any kind against the Debtor,
the Post-Effective Date Debtor, any Released Party, or any Exculpated Party that relates to or is reasonably
likely to relate to any act or omission in connection with, relating to, or arising out of a claim or cause of action
subject to Article IX.C, Article IX.D, or Article IX.E, including any claim or cause of action that was asserted
or assertable on behalf of the Debtor, including any derivative, alter ego, successor liability, or similar claims
and causes of action based on general harm to the Debtor, Holders of Claims and Interests, or any other party
in interest, or a theory of lack of separation between the Debtor and a Released Party or Exculpated Party,
without the Bankruptcy Court (i) first determining, upon motion that attaches a copy of the proposed complaint
or petition, and after notice and a hearing, that such claim or cause of action represents a direct (as opposed to
derivative) and colorable claim of any kind and (ii) specifically authorizing such Person or Entity to bring such
claim or cause of action against the Debtor, the Post-Effective Date Debtor, any Released Party, or any
Exculpated Party. At the hearing on such motion, the Bankruptcy Court shall have sole and exclusive
jurisdiction to assess whether the proposed complaint or petition satisfies the applicable Federal Rules of Civil
Procedure (or other applicable rules of procedure), including rule 8 and rule 9 (as applicable), and to determine
whether such claim or cause of action represents a colorable claim of any kind. Such motion shall also include
a proposed attorney fee reserve, subject to court modification, that will be deposited into the Bankruptcy
Court’s registry to indemnify the Debtor, the Post-Effective Date Debtor, the Exculpated Parties, or the
Released Parties named in the complaint or petition attached to the motion, as appliable, against costs
associated with the successful defense of any claim that is allowed to proceed. For the avoidance of doubt, any
party that obtains such determination and authorization and subsequently wishes to amend the authorized
complaint or petition to add any claims or causes of action not explicitly included in the authorized complaint
or petition must obtain authorization from the Bankruptcy Court before filing any such amendment in the
court where such complaint or petition is pending. The Bankruptcy Court reserves jurisdiction to adjudicate
any such claims to the maximum extent provided by applicable law.

          No Person or Entity may commence or pursue a claim or cause of action of any kind that arose or
arises from or is related to the Chapter 11 Case, the negotiation of the Plan, the administration of the Plan or
property to be distributed under the Plan, the wind down of the business of the Debtor, the administration of
the Liquidation Trust or the Personal Injury Trust, or the transactions in furtherance of the foregoing without
the Bankruptcy Court (i) first determining, after notice and a hearing, that such claim or cause of action
represents a colorable claim of any kind that is not resolved pursuant to a Final Order, including, but not
limited to, negligence, bad faith, criminal misconduct, willful misconduct, fraud, or gross negligence, and
(ii) specifically authorizing such Enjoined Party to bring such claim or cause of action. The Bankruptcy Court
will have sole and exclusive jurisdiction to determine whether a claim or cause of action is colorable and, to the
extent legally permissible and as provided for in Article XII, shall have jurisdiction to adjudicate the underlying
claim or cause of action to the extent colorable.

         Upon entry of the Confirmation Order, all Holders of Claims and Interests and their respective current
and former employees, agents, officers, directors, principals, and direct and indirect affiliates shall be enjoined
from taking any actions to interfere with the implementation or Consummation of the Plan. Each Holder of
an Allowed Claim or Allowed Interest, as applicable, by accepting, or being eligible to accept, distributions
under the Plan shall be deemed to have consented to the injunction provisions set forth in this Article IX. The
Debtor, the Post-Effective Date Debtor, the Exculpated Parties, or the Released Parties shall be entitled to seek
sanctions by motion for contempt or other appropriate proceeding for any violations of the Confirmation Order
or this Plan, including the Release, Exculpation, Injunction, and Gate Keeping provisions set forth in this
Article IX.

G.       Recoupment

         In no event shall any Holder of Claims or Interests be entitled to recoup any Claim or Interest against any
claim, right, or Cause of Action of the Debtor or the Post-Effective Date Debtor, as applicable, unless such Holder
actually has performed such recoupment and provided notice thereof in writing to the Debtor on or before the


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Confirmation Date, notwithstanding any indication in any Proof of Claim or Interest or otherwise that such Holder
asserts, has, or intends to preserve any right of recoupment.

H.       Term of Injunctions or Stays

         Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect in the
Chapter 11 Case (pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court) and
existing on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the Confirmation Order)
shall remain in full force and effect until the Effective Date. All injunctions or stays contained in the Plan or the
Confirmation Order shall remain in full force and effect in accordance with their terms.

                                          ARTICLE X.
                          CONDITIONS PRECEDENT TO THE EFFECTIVE DATE

A.       Conditions Precedent to the Effective Date.

         It shall be a condition to the Effective Date that the following conditions shall have been satisfied or waived
pursuant to Article X.B:

         1.       the Bankruptcy Court shall have entered the Confirmation Order;

         2.       the Settlement Parties shall have funded the Initial Settlement Amount;

         3.       the Liquidation Trust shall be established and funded and the Liquidation Trustee shall have been
                  appointed in accordance with the provisions of the Plan and the terms of the Liquidation Trust
                  Agreement;

         4.       the Personal Injury Trust shall be established and funded and the Personal Injury Trustee shall have
                  been appointed in accordance with the provisions of the Plan and the terms of the Personal Injury
                  Trust Agreement;

         5.       the Debtor shall have obtained all authorizations, consents, regulatory approvals, rulings, or
                  documents that are necessary to implement and effectuate the Plan;

         6.       substantially final version of the Plan Supplement and all of the schedules, documents, and exhibits
                  contained therein, and all other schedules, documents, supplements and exhibits to the Plan, shall
                  have been filed;

         7.       the Administrative and Priority Claims Reserve shall have been established and funded;

         8.       the Professional Fee Escrow shall have been established and funded; and

         9.       the Other Secured Claims Reserve shall have been established and funded.

B.       Waiver of Conditions Precedent

          The Proponents, together by joint agreement, may agree to waive any of the conditions to the Effective Date
set forth above at any time without any notice to any other parties in interest and without any further notice to or
action, order, or approval of the Bankruptcy Court, and without any formal action other than proceeding to confirm
and consummate the Plan.

C.       Substantial Consummation

         “Substantial Consummation” of the Plan, as defined in 11 U.S.C. § 1101(2), shall be deemed to occur on the
Effective Date.


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                                        ARTICLE XI.
                    MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

A.       Modification of Plan

          Subject to section 1127 of the Bankruptcy Code and, to the extent applicable, sections 1122, 1125 and 1125
of the Bankruptcy Code, the Proponents may jointly propose in writing to alter, amend, or modify materially the Plan
prior to or after Confirmation. Holders of Claims and Interests that have accepted the Plan shall be deemed to have
accepted the Plan as altered, amended, or modified; provided, however, that any Holders of Claims and Interests who
were deemed to accept the Plan because such Claims or Interests were Unimpaired shall continue to be deemed to
accept the Plan only if, after giving effect to such amendment or modifications, such Claims and Interests continue to
be Unimpaired. For purposes of this Article XI only, the Liquidation Trustee shall be deemed a Proponent entitled to
seek amendment of the Plan under section 1127 of the Bankruptcy Code.

B.       Revocation or Withdrawal of Plan

         The Proponents reserve the right to jointly revoke or withdraw the Plan before the Confirmation Date and to
file subsequent chapter 11 plans. If the Proponents jointly revoke or withdraw the Plan, or if the Confirmation Date
or the Effective Date does not occur, then: (1) the Plan will be null and void in all respects; (2) any settlement or
compromise embodied in the Plan, assumption of Executory Contracts or Unexpired Leases effected by the Plan, and
any document or agreement executed pursuant hereto will be null and void in all respects; and (3) nothing contained
in the Plan shall (a) constitute a waiver or release of any Claims, Interests, or Causes of Action, (b) prejudice in any
manner the rights of the Debtor or any other Entity, or (c) constitute an admission, acknowledgement, offer, or
undertaking of any sort by the Debtor or any other Entity.

                                               ARTICLE XII.
                                         RETENTION OF JURISDICTION

A.       Jurisdiction

          Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, the
Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or related to, the Chapter 11 Case
and the Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code for, among other things, including
jurisdiction to:

          1.        allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured or
unsecured status, or amount of any Claim or Interest, including the resolution of any request for payment of any Claim
or Interest and the resolution of any and all objections to the secured or unsecured status, priority, amount, or allowance
of Claims or Interests, except as otherwise expressly provided in the Plan;

         2.       hear and determine all matters relating to Professional Fee Claims;

          3.       resolve any matters related to Executory Contracts or Unexpired Leases, including: (a) the
assumption, assumption and assignment, or rejection of any Executory Contract or Unexpired Lease to which a Debtor
is party or with respect to which a Debtor may be liable and to hear, determine, and, if necessary, liquidate, any Cure
Claims arising therefrom, including pursuant to section 365 of the Bankruptcy Code; (b) any potential contractual
obligation under any Executory Contract or Unexpired Lease that is assumed; and (c) any dispute regarding whether
a contract or lease is or was executory or expired;

          4.      ensure that distributions to Holders of Allowed Claims and Interests (as applicable) are
accomplished pursuant to the provisions of the Plan and adjudicate any and all disputes arising from or relating to
distributions under the Plan;




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        5.      adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated matters,
and any other matters, and grant or deny any applications involving a Debtor that may be pending on the Effective
Date;

          6.       enter and implement such orders as may be necessary or appropriate to execute, implement,
interpret, or consummate the provisions of (a) contracts, instruments, releases, indentures, and other agreements or
documents approved by Final Order in the Chapter 11 Case and (b) the Plan, the Confirmation Order, the Trust
Agreements, and contracts, instruments, releases, indentures, and other agreements or documents created in
connection with the Plan;

        7.      enforce any order for the sale of property pursuant to sections 363, 1123, or 1146(a) of the
Bankruptcy Code;

         8.       adjudicate, decide, or resolve any and all matters related to the Plan;

         9.        issue and enforce injunctions, enter and implement other orders, or take such other actions as may
be necessary or appropriate to restrain interference by any Entity with Consummation, implementation or enforcement
of the Plan, including all settlements, releases, exculpations and injunctions provided for under the Plan;

          10.     resolve any cases, controversies, suits, disputes, Causes of Action, or any other matters that may
arise in connection with the Consummation, implementation, interpretation, or enforcement of the Plan, the Disclosure
Statement, the Confirmation Order, or any Entity’s obligations incurred in connection with the foregoing, including
disputes arising under agreements, documents, or instruments executed in connection with the Plan, the Disclosure
Statement, the Confirmation Order;

          11.       hear, determine, and resolve any cases, matters, controversies, suits, disputes, or Causes of Action
in connection with or in any way related to the Chapter 11 Case, including: (a) with respect to the repayment or return
of distributions and the recovery of additional amounts owed by the Holder of a Claim or an Interest for amounts not
timely repaid pursuant to Article VI.G.3; (b) with respect to the releases, injunctions, and other provisions contained
in Article IX, including entry of such orders as may be necessary or appropriate to implement such releases,
injunctions, and other provisions; (c) that may arise in connection with the Consummation, interpretation,
implementation, or enforcement of the Plan, the Confirmation Order, and, subject to any applicable forum selection
clauses, contracts, instruments, releases, indentures, and other agreements or documents created in connection with
the Plan; or (d) related to section 1141 of the Bankruptcy Code;

         12.     enter and implement such orders as are necessary or appropriate if the Confirmation Order is for
any reason modified, stayed, reversed, revoked, or vacated;

         13.      consider any modifications of the Plan, to cure any defect or omission, or to reconcile any
inconsistency in any order, including the Confirmation Order;

        14.      hear and determine matters concerning state, local, and federal taxes in accordance with sections
346, 505, and 1146 of the Bankruptcy Code;

        15.       hear and determine all matters relating to the releases, injunctions, exculpations, and gatekeeping
contained in Article IX;

         16.      enforce all orders previously entered by the Bankruptcy Court;

         17.      hear any other matter not inconsistent with the Bankruptcy Code; and

         18.      enter an order or Final Decree concluding or closing the Chapter 11 Case.




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                                                 ARTICLE XIII.
                                           MISCELLANEOUS PROVISIONS

A.       Additional Documents

         On or before the Effective Date, the Proponents may jointly file with the Bankruptcy Court such agreements
and other documents as may be necessary or appropriate to effectuate and further evidence the terms and conditions
of the Plan. The Debtor, the Liquidation Trustee, or the Personal Injury Trustee, as applicable, and all Holders of
Claims and Interests receiving distributions pursuant to the Plan and all other parties in interest shall, from time to
time, prepare, execute, and deliver any agreements or documents and take any other actions as may be necessary or
advisable to effectuate the provisions and intent of the Plan.

B.       Statutory Fees

         All fees payable pursuant to 28 U.S.C. § 1930(a), including fees and expenses payable to the U.S. Trustee,
as determined by the Bankruptcy Court at a hearing pursuant to section 1128 of the Bankruptcy Code, will be paid by
the applicable Trustee for each quarter (including any fraction thereof) until the Chapter 11 Case is converted,
dismissed, or closed, whichever occurs first.

C.       Reservation of Rights

          Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the Bankruptcy Court
has entered the Confirmation Order. None of the filing of the Plan, any statement or provision contained in the Plan,
or the taking of any action by the Proponents with respect to the Plan, the Disclosure Statement, or the Plan Supplement
shall be or shall be deemed to be an admission or waiver of any rights of either of the Proponents with respect to
Holders of Claims or Interests prior to the Effective Date.

D.       Successors and Assigns

          The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding on, and
shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, affiliated investment funds
or investment vehicles, managed accounts or funds, investment managers, advisors, and sub-advisors with
discretionary authority, officer, director, agent, representative, attorney, beneficiaries, or guardian, if any, of each
Entity.

E.       Service of Documents

         All notices, requests, and demands relating to the Plan shall be in writing to be effective and, unless otherwise
expressly provided in the Plan, shall be deemed to have been duly given or made when actually delivered, addressed
as follows:

         If to the Debtor:

                 Tehum Care Services, Inc.
                 Attention: Russell Perry, Chief Restructuring Officer
                 2021 McKinney Avenue, Suite 340
                 Dallas, TX 75201
                 E-mail: russell.perry@ankura.com

         with copies to:

                 Gray Reed
                 Attention: Jason S. Brookner and Aaron M. Kaufman
                 1300 Post Oak Boulevard, Suite 2000
                 Houston, Texas 77056


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                 E-mail:   jbrookner@grayreed.com; akaufman@grayreed.com

         If to the Commitee:

                 David Barton, Chairperson for Official Committee
                 of Unsecured Creditors of Tehum Care Services, Inc.
                 190 E. Bannock Street
                 Boise, ID 83712
                 Email:    bartond@slhs.org

         with copies to:

                 Stinson
                 Attention: Nicholas Zluticky and Zachary Hemenway
                 1201 Walnut, Suite 2900
                 Kansas City, MO 64106
                 E-mail: nicholas.zluticky@stinson.com; zachary.hemenway@stinson.com

         If to the Liquidation Trustee, to:

                 [Address to be provided in the Plan Supplement]

         If to the Personal Injury Trustee, to:

                 [Address to be provided in the Plan Supplement]

          After the Effective Date, the Liquidation Trustee shall have the authority to send a notice to Entities that
continue to receive documents pursuant to Bankruptcy Rule 2002 requiring such Entity to file a renewed request to
receive documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the Liquidation Trustee is authorized
to limit the list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who have filed
such renewed requests.

F.       Entire Agreement

         Except as otherwise indicated, the Plan (including, for the avoidance of doubt, the Plan Supplement)
supersedes all previous and contemporaneous negotiations, promises, covenants, agreements, understandings, and
representations on such subjects, all of which have become merged and integrated into the Plan.

G.       Plan Supplement Exhibits

          All exhibits and documents included in the Plan Supplement are incorporated into and are a part of the Plan
as if set forth in full in the Plan. The Plan Supplement is available upon written request to Debtor’s counsel or
Committee counsel at the addresses above, by downloading such exhibits and documents for free from the Claims
Agent’s website at https://www.kccllc.net/tehum, or from the Bankruptcy Court’s website for a fee at
https://ecf.txsb.uscourts.gov/. The documents contained in the Plan Supplement are an integral part of the Plan and
shall be deemed approved by the Bankruptcy Court pursuant to the Confirmation Order.

H.       Non-Severability

          If, prior to Plan confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be invalid,
void, or unenforceable, the Bankruptcy Court shall not alter or interpret such term or provision to make it valid or
enforceable, provided that at the request of the Debtor and the Committee, the Bankruptcy Court shall have the power
to alter and interpret such term or provision to make it valid or enforceable to the maximum extent practicable,
consistent with the original purpose of the term or provision held to be invalid, void or unenforceable, and such terms
or provision shall then be applicable as altered or interpreted provided that any such alteration or interpretation shall


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be acceptable to the Debtor and the Committee. The Confirmation Order shall constitute a judicial determination and
shall provide that each term and provision of the Plan, as it may have been altered or interpreted in accordance with
the foregoing, is: (1) valid and enforceable pursuant to its terms; (2) integral to the Plan and may not be deleted or
modified without the consent of the Debtors; and (3) nonseverable and mutually dependent.

I.       Good Faith

          Upon entry of the Confirmation Order and pursuant to section 1125(e) of the Bankruptcy Code, the Debtor,
the Committee, the Exculpated Parties, and the Released Parties will be deemed to have solicited votes on the Plan,
or otherwise participated in the Plan process, in good faith and in compliance with the Bankruptcy Code, and,
therefore, no such parties, individuals, or the Trustees will have any liability for the violation of any applicable law,
rule, or regulation governing the solicitation of votes on the Plan or participation in the Plan process.

J.       Waiver or Estoppel

          Each Holder of a Claim or Interest shall be deemed to have waived any right to assert any argument, including
the right to argue that its Claim or Interest should be Allowed in a certain amount, in a certain priority, secured or not
subordinated by virtue of an agreement made with the Debtor, the Committee, or their counsel, or any other Entity, if
such agreement was not disclosed in the Plan, the Disclosure Statement, or papers filed with the Bankruptcy Court
prior to the Confirmation Date.

K.       No Attorney’s Fees

         Except for the fees of Professionals, no attorneys’ fees shall be paid by the Debtor or the Trustees with respect
to any Claim or Interest unless otherwise specified in the Plan or by a Final Order of the Bankruptcy Court.

L.       Closing of Chapter 11 Case

        The Liquidation Trustee shall file with the Bankruptcy Court all documents required by Bankruptcy Rule
3022 and any applicable order of the Bankruptcy Court to close the Chapter 11 Case.




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Dated: September 29, 2023

                                    Respectfully submitted,

                                    Tehum Care Services, Inc.

                                    By: /s/ Russell Perry
                                    Name: Russell Perry
                                    Title: Chief Restructuring Officer

                                    -and-

                                    Official Committee of Unsecured Creditors

                                    By: /s/ David Barton
                                    Name: David Barton
                                    Title: Chair




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